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                         LAND DISPOSITION AND DEVELOPMENT AGREEMENT
                                   [poppleton Redevelopment Project] SEP 2 7 2006
                THIS LAND DISPOSITION AND DEVELOPMENT AGREEMENT (this
         "Agreement',), is made this _ _ day o. $j\';I; 2 _.<\!ti>. 2006 (the "Effective Date"), hy and
         between the MAYOR AND CTIY COUNCIL OF BALTIM:ORE, a body corporate and politic
         and a political subdivision of the State of Maryland (the "City"), acting by and through the
         Department of Housing and Community Development (the "Department"); and POPPLETON
         DEVELOPMENT I, LLC, a Maryland limited liability company (the ''Developer''). The
         Effective Date is the date the Agreement is approved by the Baltimore City Board of Estimates.

                                                     RECITALS

                    A.  The Developer has developed a plan for the redevelopment of certain property
        within the Poppleton Urban Renewal Area and the Franklin Square Urban Renewal Area known
        collectively as the "Poppleton Housing Initiative" (the "Project Area"). The Developer intends
        to redevelop the Project Area into a comprehensive project containing residential and
        commercial uses, and may also include institutional and public uses (the "Project") in
        accordance with the Developer's Master Plan (as defined in Section 3.4 hereof). The Project
        Area, consisting of approximately 13.8 acres, is comprised of all of the properties listed on
        Sclwdul€ . ~:&.
                   . aif.2.Ched hereto and incolporated herein (each a aProperiy~ and collectively the
        "Properties") and/or shown on the phasing plan attached hereto as Schedule F (as amended from
        time to time in accordance with this Agreement, the "Phasing Plan").

                B.     The Project Area is principally within the boundaries of the Poppleton Urban
        Renewal Area (the "Renewal Area'') established by Ordinance No. 837 and approved March 31,
        1975, as amended from time to time, and is subject to the tenus of the Urban Renewal Plan
        adopted pursuant to said Ordinance as amended from time to time (the "Renewal Plan"). A few
        of the Properties within the Project Area are within the boundaries of the Franklin Square Urban
        Renewal Area established by Ordinance No. 831 and approved July 19, 1978, as amended from
        time to time, and the Urban Renewal Plan adopted pursuant to said Ordinance as amended from
        time to time. With respect to those Properties located within the Franklin Square Urban Renewal
        Area only, the use of the term "Renewal Plan" shall mean the Franklin Square Urban Renewal
        Plan.

               C.      The City has title to, or will acquire title to in accordance with this Agreement,
        the Properties listed or shown on the attached Schedule A and Schedule F to be developed in
        accordance with this Agreement.

                D.      The City is authorized to acquire, sell, lease, convey, transfer or otherwise dispose
        of all of the Properties by virtue of (i) Article II, Section 15 of the Baltimore City Charter, 1996
        Edition (the "Charter"), (ii) Article 13 of the Baltimore City Code - 2000 Edition (the "City
        Code''), which established the Department pursuant to the Charter, (iii) Ordinance No. 837
        approved March 31, 1975 establishing the Poppleton Urban Renewal Area, as amended from
        time to time, (iv) Ordinance No. 831 approved July 19, 1978 establishing the Franklin Square
        Urban Renewal Area, as amended from time to time, (v) the provisions of the Renewal Plan, (vi)
        Ordinance No. 477, approved December 6, 1973 which authorizes the City to dispose of the



        285250.11                                                                                        1
        9/6/2006                                                           Exhibit 1 to
                                                                           Verified Complaint


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Properties, .(vii) Ordinance No. 95-525 [Article 13, Section 2-7(mm)], approved November 1 I,
1999 which authorizes the City to dispose of the Properties, and (viii) in accordance with the
procedures set out in Ordinance No. 95-525 [Article 13, Section 2-7(h)], approved November 11,
1999 which a).lthorizes the City to dispose of the Properties.

        E.     Material assistance has been given to the City by the United States of America in
the form of grants or loans in order to further the Renewal Plan and to acquire some or all of the
parcels of land located within the Renewal Area.                                            .

        F.     The City desires that the Developer develop the Proj ect, either directly or through
others, in accordance with the Master Plan and this Agreement, and, subject in all cases to the
terms and provisions oftbis Agreement, the Developer is wiIling to do so.

                                          AGREEMENT

         NOW, THEREFORE, for and in consideration of the premises and the mutual obligations
of·.the parties hereto, and other good and valuable consideration, the receipt of which is hereby
acknowledged, the City and the Developer, for themselves, their successors and assigns, hereby
covenant and agree as follows:

                                           ARTiCLEi

                            GENERAL TERMS OF CONVEYANCE
         1.1    Conditions of Conveyance. Subject to the restrictions, covenants, conditions,
terms, and provisions of this Agreement, the City hereby agrees to acquire the Properties and 'to
sell the Properties to the Developer or its Designees (as defined in Article V) in accordance with
the Renewal Plan and this Agreement, and the Developer hereby agrees for itself and its
Designees to purchase and buy the Properties from the City and to plan, design, market and
construct the Project, consistent with the Renewal Plan and this Agreement.

            1.2   Land Assemblage and Acquisition.

                (a)    The City shalI use its best efforts and alI legal authority to acquire all of
the Properties identified on Schedule A that the City does not already own as of the Effective
Date. In furtherance of the foregoing, and as authorized by the Renewal Plan, the City rnay
purchase and acquire any Properties within the Project Area and listed on Schedule A pursuant to
its power of condemnation, through such power of condemnation or Under the threat of
condemnation as authorized by the Charter and the City Code. In addition, the City will take alI
necessary steps to redeem or eliminate ground rents on all Properties to be conveyed to the
Developer. The City will have no obligation to pursue the acquisition of a particular Property' if
the Developer gives the City written notice that the Developer intends to acquire such Property
directly from its owner.

               (b)     As of the Effective Date, the parties anticipate that the City will need to
exercise its power of condemnation with respect to certain of the Properties. The City agrees to
commence acquisition proceedings with respect to Properties located in Phase I (as identified in



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 Schedule A) within thirty (30) days of the Effective Date and to diligently proceed with all. such
 acquisition proceedings. The City will use its best efforts to acquire Properties in accordiutce
 with the Phasing Plan. The timing of the acquisitions will be dependent upon the City's access
 to funding sources for the Project. The City will provide at least bi-weekly reports to the
 Developer regarding the status of each Property acquisition and the schedule for completing any
 remaining acquisitions. .

            1.3   Title Review: Notice of Title Defects.

                 (a)    The City shall cause to be commissioned a title report for certain
Properties it will acquire for the purposes of the Project. Upon request from the Developer, the
City shall provide a copy of any title reports commissioned for this purpose (together with copies
of all instruments noted as exceptions). Notwithstanding the foregoing, the Developer shall bear
sole responsibility for connnissioning title reports as may be needed by the Developer to obtain
title insurance.

               (b)     If the Developer claims any title defect or encumbrance is unacceptable or
will cause any Property to be unmarketable or uninsurable, said defect or encumbrance shall be
brought to the attention of the Department and the City's Law Department in writing at least one
hundred twenty (120) days prior to the Closing Date for such Property, and the City shall use its
best efforts and aU legal authority to eiiminate such defect or encumbrance at the earliest
possible time prior to Closing.

       1.4     Relocation. All relocation of persons and businesses (whether owners or tenants)
from the Project Area shall be performed by the City prior to Closing. The City and/or the
Department shall be responsible for managing all relocation efforts prior to Closing and shall be
responsible for all relocation costs.          .

            1.5   Condition of the Property.

               (a)   The parties agree that the buildings located on the Properties identified as
"Rehabilitation" or "Scattered Site Rehabilitation" in Schedule A of this Agreement are to be
accepted by the Developer in an "As Is" condition at the time of Closing.

                 (b)     The Properties identified as "New Construction" in Schedule A of this
Agreement are to be delivered to the Developer free of all buildings and other structures. All
existing utilities will either be removed or capped by the City during the demolition and clearing
work and prior to Closing. The City will conduct such clearing activities in accordance with the
Phasing Plan. The City will not be required to remove or cap utilities located on those Properties
upon which no demolition or clearing activities must be performed by the City pursuant to this
Section 1.5(b).

        1.6   Improvements. The term "Improvements" as used in this Agreement means the
structure or structures to be constructed in accordance with this Agreement, including
landscaping and utilities, all as shown in the approved Construction Plans (as defined in Section
3.5).




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•   •
                1.7    Conditions Precedent to Closing. Closing may proceed in Phases and subphases,
        at the option of the Developer. The City shall not be obligated to make conveyance of a given
        Phase, subphase or other combination of the Properties unless and until the following events
        have ail occurred with respect to such Phase or subphase:

                        (a)    The Developer has furnished evidence satisfactory to the Department that
        the Developer has the equity capital and/or commitments for the mortgage financing or other
        capitalization adequate for the constmction of the hnprovements.

                       (b)    The Developer has submitted a Commitment to Comply witb Article 5,
        Subtitle 28 of the Baltimore City Code (2000 Edition) substantially in the form attached hereto
        as Schedule C and made a part hereof, in which the Developer agrees to carry out all of the
        provisions of Schedule C.

                1.8   Purchase Price. The Purchase Price for each Property and the Reimbursement
        Amount for each Property (each as defined in Schedule B) and manner of payment for the
        Properties are set forth in Schedule B attached hereto and incorporated herein. No down
        payment or good faith deposit shall be required.

                1.9     Closing. The purchase and sale of the Properties that the City owns or has
        acquired in accordance with this Agreement shaU close (the «Closing") at a time and date
        selected by the Developer by sending written notice thereof to the Department at least thirty (30)
        days prior to each such date (each a "Closing Date"). Closing may take place in Phases or
        subphases if requested by the Developer. The City's failure to acquire one or more Properties
        within a particular Phase or subphase by the Closing Date for that Phase or subphase shall not
        prevent the Developer from proceeding to Closing for such Phase or subphase, but the Developer
        shall not be required to go to Closing on any Phase or subphase unless the City is able to convey
        all of the Properties in such Phase or subphase. Closing for the entirety of each Phase must
        occur within 18 months of the City's acquisition of ail Properties within a given Phase. Failure
        of the Developer to satisfy the conditions precedent to Closing identified in Section 1.7 and
        proceed to Closing within such timeframe shall be considered an event of default; provided,
        however, such 18-month timeframe shall be extended if the Developer's inability to satisfy the
        condition precedent set forth in Section 1.7(a), if applicable, is due to the City's failure to
        approve the Developer's Constmction Plans for the subject Phase in a timely manner, in which
        case such timeframe shall be extended at the Developer's request until such time as the City has
        approved such Constmction Plans. Notwithstanding the foregoing, the Developer shall not be
        required to close on anyone Phase until the Developer has closed on the Phase intended to
        precede such Phase. The City shall give written notice to the Developer when the City has
        acquired title to all of the Properties in each Phase. Closing for all four Phases shall take place
        no later than fifteen (15) years after the Effective Date, unless otherwise extended in accordance
        with the terms of this Agreement or by the written consent of the parties hereto, their successors
        and assigns.

               1.10 Conditions of Title. At the time of Closing, the City shall convey to the
        Developer or its Designee, by special warranty deed, good and marketable and insurable title to
        the Properties free and clear of all liens, encumbrances, and title defects but subject to and with
        the benefit of all terms, conditions, covenants, rights, and restrictions set forth in this Agreement,


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 any and all municipal utilities, and any easements (both recorded and unrecorded) approved ~y'
 the Developer and necessary for the full development of the Properties according to the Renewal
 Plan and this Agreement.

       1.11 Insurable· Title. An insurable title is one for which an A.L.T.A. approved title
 company will issue an owners Of mortgagee title insurance policy at standard title insurance
 premium rates.

       1.12 Deed Covenants. Any deed or deeds conveying the Properties shall contaiJ)
covenants of special warranty and further assurances against encumbrances other than those
permitted by this Agreement.

       1.13 Limitation of Covenants. If any Properties have been acquired by tax sale
proceedings, said conveyance shall be without warrantY as to those Properties.

         1.14 Closing Expenses. The Developer will pay, with respect to the conveyance of the
Properties to the Developer, all applicable transfer taxes, recordation taxes, premiums.for any
title insurance policies procured by the Developer, and the full expense of the proper recordiitg
of documents among the Land Records of Baltimore City (the "Land Records").

         US Real Estate Taxes. At least ten (l0) Business Days prior to each Closing for the
Properties, the City shall submit to the Developer an estimate of the real estate tax equivalency
charge to be paid at Closing with respect to the Properties to be conveyed on the hasis of a tax
assessment of 100% of the Purchase Price of such Properties and calculated at the City and State
tax rates and prorated for the remainder of the tax year in which Closing is made. In the event of
a nominal Purchase Price, the tax equiValency charge shall be computed on the current
assessment of the subject Properties. At Closing, the Developer shall pay the portion of the real
estate taxes due for the applicable year for the period after Closing.

        1.16 Closing Adjustments. The City shaH pay all taxes, sewer and water charges and
other assessments or charges with respect to the applicable Properties accruing during the period
before the applicable Closing. Taxes, charges or assessments incurred during the period after the
applicable Closing shall be paid by the Developer.

        1.17 Financing Support by the City. The City has committed certain funds to the
Project for the acquisition and preparation of the Properties for conveyance to the Developer.
The use of such funds for the Project Area will be subject to compliance with all Applicable Law
(as defined in Section 3.17). In addition, and in furtherance of the foregoing, the Department
will in good faith seek to assist the Project through the following sources. However, the
Department shall make no guarantees as to the success of obtaining funding through the
following sources:

               (a)    Tax Increment Financing. The City will support the desiguation of the
Project Area as a Development District or other appropriate designation, as needed to fmance the
Project, that may qualify the Project to benefit from Tax Increment Financing. Upon request
from the City, the Developer will provide all information and support necessary to successfully
obtain Tax Increment Financing.



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                (b)     Historic Tax Credits. The City will support approval for the Project Area
as part of a Certified Historic Area that will qualify the rehabilitation components of the Project
for credits and other incentives from govermnental entitles.

                (c)   Maryland Priority Places. The Project Area is within an area designed as a
"Maryland Priority Place" by the Governor in February 2005. The City will support the
Developer and the appropriate State agencies iu connection with funding and support under the
Priority Place Program.                                                        .

               (d)    HUD Home Program. The City will support the Developer's efforts to
obtain funding under the HUD Home Investment Partnership Program.

               (e)   Other Financing. The City will consider such other approvals as are
needed to implement financing elements that will be of benefit to the Project, consistent with this
Agreement, including but not limited to, redevelopment bonds, special tax districts, and
enterprise zones.

        1.18 HUD Financing Requirements. If the Developer will finance the Project ~
whole, or in part, with grants or loans from the United States Department of Housing and
Community Development (HUD), then the Developer shall comply with all requirements of Title
24, Part 58 of the Code of Federal Regulations, entitled "Environmental Review Procedures for
Entities Assuming HUD Environmental Responsibilities."

                                       END OF ARTICLE I

                                            ARTICLE II

                                      SITE PREPARATION
         2.1    City's and Developer's Obligations. The Developer agrees that it shall, at its own
expense, obtain the approvals set forth in this Article n and provide the Improvements identified
in this Article n to be provided by the Developer if necessary for the development of the
Properties in accordance with the Renewal Plan and this Agreement. The City agrees that it
shall, at is own expense, complete the work identified in this Article n to be completed by the
City. The failure of one party to perform its obligations, or deprive the f1l"St party of its rights
and benefits, with respect to a particular Phase or subphase shall not relieve the other party from
its obligations, or deprive the first party of its rights and benefits, with respect to other Phases or
subphases, unless specifically provided for in Article vn.

        2.2     Land-Use Approvals. The Developer shall be responsible for obtaining any land
nse approvals and pennits for the Project, and the initiation of all necessary ordinances and
actions, including all costs relative thereto (including title searches required for any rezoning or
conditional use approvals). The Department ",iII support such changes in zoning with respect to
the Project Area as may be reasonably necessary, from time to time, in order to implement the
Master Plan. The parties contemplate the use of a planned unit development (the "PUD") to
aIJow for the flexible reallocation of floor area within the Project Area.




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        2.3 . PaVing. The Developer shall perform or cause to be perfonned all work related to
the installation of new sidewalks, curbs and gutters appurtenant to the Properties conveyed to the
Developer, provided the Developer shall not be required to install new sidewalks, curbs or
gutters where existing sidewalks, curbs or gutters may be integrated into the Project, subject,
however,. to approval of the Baltimore City Department of Public Works or other appropriate
governmental agency.

         2.4     Infrastructure and Utilities. After the City's removal or relocation of existing
utilities in accordance with Section 1.5(b), the Developer shall perfonn or cause to be perfonned
the construction of all new public and private utilities and appurtenances, such as water mains,
sanitary sewers, stonn drains, and electrical conduits, as necessary to serve the Project and or any
applicable portion thereof by private parties. The Developer shall also construct such private
streets within the Project Area as necessary to serve the Project. Any infrastructure work shall
be conducted in accordance with a customary developer's agreement to be negotiated with the
Baltimore City Department of Public Works.

       2.5    Construction/Stonn Water Management. Except as provided in Section LS(b),
the Developer shall perfonn or cause to be perfonned all work related to construction sediment
and erosion control and storm water management procedures.

        2.6     Road Closures. The City shall be responsible for the administrative closure (or, if
applicable, opening and closure) of any public streets or alleys necessary for the construction of
the Project. The Department shall use all reasonable efforts to assist the Developer in obtaining
all necessary permits and approvals. The Developer shall identify the public streets and alleys for
closure and be responsible for all due diligence activities required for approval. Notwithstanding
the foregoing, the Developer shall not be required to pay to the City any application fees,
appraisal fees, road abandonment fees, conveyance fees or other consideration for the streets and
alleys which are closed.

        2.7   City Support and Cooperation. The City shall use all reasonable efforts to assist
the Developer in obtaining all necessary permits and approvals and will cooperate with the
Developer in each of the undertakings identified in this Article II and in Article III. In
furtherance of the foregoing, the City shall identify and designate an individual (the "City
Representative") to handle all communications from the Developer and all City agencies in
cormection with the Project. The initial City Representative will be Alastair Smith. The
Developer shall also identify and designate an individual (the "Developer Representative") to
handle all communications from the City in cormection with the Project. The initial Developer
Representative will be Daniel Bvthewood. The City and the Developer may each change their
Representative by sending written notice thereof to the other.

        2.8     Security. From and after the Effective Date, the City shall use all reasonable
efforts to insure that the Project Area receives added attention and security measures from the
Baltimore City Police Department, including but not limited to, the marming of the Poppleton
substation and utilization of the "police officernext door" program.

                                     END OF ARTICLE II




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                                          ARTICLEm

                          CONSTRUCTION OF IMPROVEMENTS
        3.1    Design Review. The Developer shall confer with the Department on the
 functional and aesthetic aspects of the design development plans and specifications. The
 Developer agrees to attend periodic conferences called by the Department for the same purposes
 while the Preliminary Plans and Construction Plans, as defined in this Article, are being
prepared. The Developer agrees to seek approval of the Urban Design and Architectural Review
 Panel (UDARP) of any material changes to the Developer's Master Plan, as required by t/Ie
regulations of the Baltimore City Department of Planning. The design and construction of the
Project will be performed in Phases, and subphases, at the Developer's discretion. The
preliminary phasing plan for the Project is attached hereto as Schedule F. Submission of plans
by the Developer and review of plans by the Department will occnr according to the Phasing
Plan of the Project. The Developer may change the order of development of the Phases and
subphases shown on with the Phasing Plan provided that: (a) the Developer notifies the
Department of any and all such changes as they are made; (b) the overall timetable for,
completing the PhaSes in accordance with Section 3.13 is not altered; and (c) the changes are
compatible with the City's acquisition efforts. If the amended Phasing Plan is not compatible
with the City's acquisition efforts, a revised timetable for Closing on each Ph~.e shan be
prepared in consultation between the City and Developer. Any changes to the phasing Plan will
be identified on an amended Phasing Plan prepared by the Developer and submitted to the
Department. If necessary, a revised timetable for Closing on each Phase will be included in the
amended Phasing Plan. The amended Phasing Plan shall be signed by both parties and serve as a
legal grounds for default should either party fail to meet its obligations under this Agreement, as
modified by the amended Phasing Plan.

        3.2    Preliminarv Plans Defined. The term "Preliminary Plans" shall mean the
schematic plans for each Phase or subphase, including but not be limited to floor plans and
facade elevations, developed to show the architectural character and use of the Improvements,
and site plans indicating the location of the Improvements and dimensions of property lines,
existing and proposed utilities, landscaping, and vehicular parking and loading areas within each
such Phase or subphase. The Developer will use commercially reasonable efforts to include
green building techniques and materials in the design and construction of the Project.

        3.3   Preliminarv Plan Submission. The Developer shall submit to the Department for
its approval the Preliminary Plans, which approval shall not be unreasonably withheld,
conditioned or delayed. The Developer shall submit the Preliminary Plans for Phase I no later
than one hundred twenty (120) days after the Developer has acquired all of the Properties in
Phase I.

         3.4    Preliminary Plan Review and Approval. The Department shall not unreasonably
withhold its approval of the Preliminary Plans if such plans conform to the provisions of the
Master Plan, Renewal Plan, the PUD and this Agreement. The Preliminary Plans shall, in any
event, be deemed to have been approved by the Department unless rejected, in whole or in part,
in writing, within thirty (30) days after their submission, as not being in conformity with said
criteria, specifying the reasons for the rejection. The Department shall not be permitted to


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require changes to the Preliminary Plans which do not conform to the conceptual pl3l1$ and/or
architectnral drawing prepared for the Developer and approved by UDARP. Such con~tual
plans, as they may be implemented and amended from time to time, including without limitation,
by zoning changes and the creation of the PUD, are referred to herein as the Developer's
"Master Plan". Rejection and resubmission of revised materials hereinabove provided shaH
continue until the Preliminary Plans have been approved by the Department; provided, that in
any event, the Developer shall use commerciaHy reasonable effurts to submit acceptable
Preliminary Plans within thirty (30) days after receipt of comments from the Department, and the
Department shaH renew and approve said revised Preliminary Plans no later than fifteen (IS)
days after receipt of said revised plans.

       3.5      Construction Plans Defined. The term "Construction Plans" 'shall mean
complete working drawings suitable for bidding for each Phase or subphase or other combination
of Properties (including Properties identified in this Agreement for Scattered Site Rehabilitation).

       3.6     Construction Plan Submission. The Developer shall submit to the Department for
its approval Construction Plans within two hundred ten (210) days after approval of the
Preliminary Plans.

         3.7    Construction Plans Review and Approval. The provisions of Section .3.4
regarding approval, rejections and resubmission of Preliminary Plans shall likewise apply to
Construction Plans. In any event, however, the Developer shall use commercially reasonable
efforts to submit revisions, if necessary, within thirty (30) days of receipt of comments from the
Department, and the Department shall approve, in writing, said revised Construction Plans
within fifteen (15) days following submission.

            3.8   Conformity of Construction Plans.

               (a)    Final Construction Plans and all work by the Developer, its Designees
and/or its successors and assigns with respect to the Project and the construction of the
Improvements within the Project Area shall be in conformity with the Renewal Plan, the PUD,
the Master Plan, this Agreement, the Building Code of Baltimore, the Memorandum of
Understanding between the Developer and the Maryland Historical Trust, the form of which is
attached hereto as Schedule E, and all Applicable Law (as defmed in Section 3.17).

               (b)     All work performed on the construction of the Improvements shall
materially conform with the approved Construction Plans. It is agreed that change orders or
modifications which do not materially affect the site plans, facade elevations or other design
elements of the Improvements shall not constitute a deviation from the approved Construction
Plans. However, any material modification to the site plans, facade elevations or other design
elements shall be submitted in writing and approved by the Department before its
implementation. If the Department neither approves nor disapproves in writing within twenty
(20) days of receipt of such modification then it shall be treated as having been approved.

                (c)    In the event the Developer fails to comply with the foregoing requirements
of this Section 3.8, the Department may, within a reasonable time after discovery thereof by the
Department, direct in writing that the Developer so modifY or reconstruct such portion or


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 portions of the Improvements as are not in conformance with the approved Construction Plans or
 any approved modifications in order to bring them into conformance. DisC<1very by the
 Department shall be deemed to have occurred when non-compliant work is visible for inspection
 whether or not the Department actually inspects the subject Improvements. In any event, the
 City may not raise objections to any non-conformity of a particular Improvement after such
 Improvement has been substantially completed.

        3.9     Right of Access. The City hereby grants to the Developer, its consultants, agents,
employees and advisors a right of entry onto such Properties that the City owns for the purpose
of performing the Developer's tasks in connection with this Agreement, including conducting
tests and preparing materials and reports as may be required to enable the Developer or such
other parties to plan for and design the Project, or any portion thereof, and/or to commence
construction prior to Closing. The Developer shall save the City, or any Jlgent thereof, harmless
from any and all claims or damages arising from or connected with the work or operations done
or performed by the Developer, its consultants, agents, representatives and employees under the
provisions of this Section, unless such claims or damages arise from the indemnified party's own
negligence or misconduct or entry onto the Properties. The Developer shall permit access to the
Properties by the Department, the United States of America, and the City, or any agent thereof, at
reasonable times and to the extent necessary to carry out the provisions of this Agreement;
provided that any such parties comply with all construction safety me.asure-s, and fhIther
provided that each such party shall save the Developer, its officers and agents, hannless from
any and all claims or damages arising from or connected with such party's entry onto the
Properties. In no event shall there be any compensation payable or charge made in any form to
either party for any such access.                                                       0




       3.10 Building Permits. Within sixty (60) days after approval by the Department of the
Construction Plans for the buildings within Phase 1, and provided that Closing on all of the
Properties in Phase I has occurred, the Developer shall apply for all necessary building penilits
and thereafter the Developer shall diligently pursue such applications and pay all fees and costs
associated therewith.

        3.11 Commencement of Construction. Within one hundred eighty (180) days after °the
Developer receives approval of the Construction Plans for Phase I and all necessary building
permits, and provided that Closing on all of the Properties in Phase I has occurred, the Developer
shall commence the construction of the Improvements within Phase I. Thereafter, the Developer
shall cause the Improvements in Phase I and in subsequent Phases to be completed in accordance
with the approved Construction Plans.

        3.12 Progress Reports. Until issuance of a Certificate of Completion for each Phase,
the Developer shall make in such detail as may reasonably be required by the Department, a
report in writing to the Department every ninety (90) days as to the actual progress of the
Developer with respect to the development and construction of each Phase of the Project,    0




During construction, the work of the Developer shall be available for inspection by
representatives of the Department at reasonable times and after at least three (3) Business Days
prior notice to the Developer.




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         3.13 Completion of Construction. Subject to such adjustments or extensions as
 otherwise provided in this Agreement, the Developer shall diligently execute to completion the
 construction of the Improvements on the Properties and shall complete such construction not
 later than the following dates for each Phase, as identified in Schedule A and described in
 Schedule D of this Agreement:                                          .

                (a)     Phase I: Completed not later than thirty (30) months from the date of
 Closing on all of the Properties within Phase I.

                (b)     Phase II: Commenced not later than six (6) months after the later to occur
 of (i) Closing on all of the Properties in such Phase or (ii) completion of Phase I, provided that
 the Developer has sold or leased at least eighty percent (80%) of Phase I by such time, and
 completed not later than thirty (30) months from the date of commencement.

                (c)     Phase ill: Commenced not later than six (6) months after the later to occur
 of (i) Closing on all of the Properties in such Phase or (ii) completion of Phase II, provided that
 the Developer has sold or leased at least eighty percent (80%) of Phase II by such time, and
 completed not later than thirty (30) months from the date of commencement.

                (d)    Phase IV: Commenced not later than six (6) months after the later to occur
of (i) Closing on all ofth-e Properties in such Phase or (ii) completion oi Phase Ill, provided that
the Developer has sold or leased at least eighty percent (80%) of Phase ill by such time, and
completed not later than thirty (30) months from the date of commencement.

                (e)    Scattered Site Rehabilitation: Construction shall be commenced not later
than twelve (12) months from the Closing Date. Construction on all Scattered Site
Rehabilitation Properties shall be completed no later than three (3) years from the Effective Date.
The Developer shall consult with the City on the timing of the City's relocation efforts. The
Developer will use commercially reasonable efforts to complete the construction of the Scattered
Site Rehabilitation Properties in time to accommodate residents relocated due to the City's
acquisition efforts.

        Each of the deadlines set forth in Section 3.11 and this Section 3.13 shall be extended by
an Event of Force Majeure (as defmed in Section 7.9 below). Each of the deadlines in this
Section 3.13 may also be subject to such adjustments as may be warranted by the rate of sales
andlor leasing or the findings of an economic feasibility and absorption study conducted by or on
behalf of the Developer during the development of the Project in the Developer's reasonable
discretion (each a ''Market Demand Study"). To the extent the goals and benchmarks
identified above are not supported by the rate of sales andlor leasing or the Market Demand
Study, the Developer may request an extension of the deadlines from the Department. In
addition, the deadline for Phase I shall be extended automatically for twelve (12) months upon
the request of the Developer if site preparation and foundations for Phase I Improvements have
been completed, and may be extended for longer periods of time by permission of the
Department. Failure to complete the Improvements according to this schedule shall constitute an
event of default (unless the delay is due to a default of the City under this Agreement).




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            3.14   Certificate of Completion.

                (a)    Promptly after completion of the Improvements in each Phase or
subphase, the Department shall issue to the Developer, at no cost to the Developer, an instrument
certifying that the Phase, or any then applicable portion thereof, has been completed in
accordance with this Agreement, which shall be in such foim as will enable it to be recorded
among the Land Records (each a "Certificate of Completion"). Such Certificate of Completion
from the Department shall be a conclusive determination of satisfaction of the agreements and
covenants in this Agreement with respect to the obligations 'of the Developer, its successors and
assigns, and every successor in interest to the Property, to construct the Improvements in such
Phase, subphase, or other combination of Properties; provided that such Certificate of
Completion and such determination shall not constitute evidence of compliance with or
satisfaction of any obligation of the Developer to any holder of a mortgage, or any insurer of a
mortgage, securing money loaned to finance the Improvements, or any part thereof.

               (b)    A Certificate of Completion shall be issued by the Department within a
reasonable period of time (not to exceed thirty (30) days) following written notice from the
Developer or its successors or assigns that the Phase, subphase, or other combination of
Properties has been completed in accordance with this Agreement for the applicable Properties;
and the Department agrees to cooperate with the Dev,eloper's Representative to expedite the
issuance of any such Certificate of Completion. A Certificate of Completion shall be issued by
the Department upon request as aforesaid, without further .requirement or conditions, with
respect to any Improvements in the Project which have been completed pursuant to all required
permits and for which a certificate of use and occupancy or other applicable form of acceptance
has been issued by the Department. No such Certificate of Completion shall be unreasonably
withheld by the Department.                                                                  ''

           3.15    Partial Completion.

             (a)    With respect to such individual parts or parcels of the Properties upon
which the Improvements have been completed, the Department will issue a "Certificate of
Partial Completion" to the Developer or its successors or assigns certifying that such
Improvements have been made in accordance with the provisions of this Agreement.

                (b)    Such Certificate of Partial Completion shall mean and provide that any
party purchasing or leasing such individual part or parcel shall not incur any obligation with
respect to the construction of the Improvements relating to such part or parcel of the Properties,
and that the Department shall not be entitled to exercise any rights or remedies or controls that it
may otherwise be entitled to exercise with respect to such Properties as a result of a default in or
breach of any provisions of this Agreement unless such default or breach be by the purchaser or
lessee with respect to the covenants and use restrictions set forth in Sections 4.1 and 4.2 of this
Agreement and the right, remedy, or control exercised relates to such default or breach.

                (c)    Issuance of a Certificate of Partial Completion shall in no way be
construed to release the Developer from the obligation to complete the Improvements as
indicated in the approved Construction Plans.




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         3.16 General Liability Insurance. The Developer, at its sole cost and expense" shall
  secure or cause to be secured from a company or companies acceptable to the Department, in the
  Department's reasonable judgment, and shall maintain in full force and effect during the period
 of time between the Effective Date of this Agreement and the execution of the Deed conveying
 title to the Properties to the Developer, commercial general liability insurance insuring the
 Developer and the City, their agents and employees, from any and all claims or damages for
 personal injuries, including death, or for damages to any property of the City or of the public for
 risks typically covered by such insurance. The amounts of such insurance are set forth as
 follows: One Million Dollars ($1,000,000.00) for injury sustained by anyone person; One
 Million Dollars ($1,000,000.00) for injury sustained by two or more persons in anyone accident;
 and Fifty Thousand Dollars ($50,000.00) for property damage. A copy of the certificate of
 insurance, which provides that the policy cannot be cancelled without thirty (30) days prior
 notice to the Department, and which names the City as an additional insured, shall be furnished
 to the Department by the Developer for approval by the City Law Department.

        3.17 Compliance with Law. The Developer will comply in every respect with any and
all Federal, State and municipal laws, ordinances, rules, regulations, orders, and notices now or
hereafter in force or issued which may be applicable to any and all of the work or operations "to
be done, performed or carried on by the Developer under the provisions of this Agreement
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        3.18 Extensions of Time. Subject to the provisions of this Agreement, the times within
which the Developer must submit Preliminary Plans, Construction Plans, evidence of equity
capital, commitments for mortgage financing, and the times within which the Developer must
commence and complete the development of any portion of the Project, and the construction of
the Improvements thereon, and the time for Closing as specified in Section 1.9 of this Agreement
may be extended in writing by the Department, in its sole discretion, upon good and sufficient
cause therefor being shown by the Developer, for such periods of time as the Department deems
advisable. Any such extension of time shall be in writing and in such form as will enable it to be
recorded among the Land Records. In addition, each of the foregoing time periods shall be
automatically extended by an Event afForce Majeure.

                                     END OF ARTICLE ill

                                          ARTICLE IV

                                 RESTRICTIVE COVENANTS

       4.1     General Covenants. The Developer, its successors and assigns, and every
successor in interest to the Properties, or any part thereof, shall comply with each of the
following restrictive covenants and include or incorporate by reference the following restrictive'
covenants as part of any deed, lease, or other conveyance of all or any part of the Properties:

               (a)      No Property shall be subject to any covenant, agreement, lease, deed,
assigmnent, conveyance, or any other written instrument, which restricts the sale, lease, use or
occupancy of the Property, or any part thereof, or any hnprovement placed thereon, upon the
basis of national origin, race, religion, sex or color.


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               (b)    The owner of each Property will comply with an Federal, State and local
 laws, in effect from time to time, prohibiting discrimination or segregation, and wiJI not
 discriminate by reason of national origin, race, religion, sex or color in the sale, lease, use or
 occupancy of the Property.

                 (c)    The owner of each Property will comply with all applicable rules and
 orders issued by the Department of Housing and Urban Development which prohibit the use of
 lead based paint in residential structures undergoing Federally-assisted construction or
 rehabilitation and requiring the elimination of lead-based paint hazards.

        4.2   Use Restrictions. The following covenants shall be included in any deed, lease, or
other conveyance of the Properties:

                (a)     The Properties shall be developed in accordance with this Agreement.

             (b)    The Properties shall be used only for the uses as allowed in the applicable
Zoning and Urban Renewal Ordinances.

               (c)      No building or permanent structure or parking area shall be constructed
over a public utility easement without the prior consent of the Commissioner of the Department
of Housing and Community Development and the Director of Public Works, which consent shall
not be unreasonably withheld.

                (d)    All land not covered by structures, paved parking, loading or related
service areas, paved areas for pedestrian circulation, or decorative surface treatment must include
the planting of any, all or a combination of the following: trees, shrubs, ground cover, grass, or
flowers. The kind of landscape treatment should be determined by the nature of the
hnprovements and the impact of the hnprovements on the surrounding area, and should serve to
improve the appearance of the site, to soften and relieve the effects of structure and pavement
and provide a visual harmony. Ail landscaping shall be maintained in good condition.

              (e)    Off-street parking shall be provided to meet the requirements established
in the Zoning Ordinance of Baltimore City or in such lesser amount as may be authorized by the
PUD and/or the Board of Municipal and Zoning Appeals as a special exception.

              (f)     Unless otherwise limited by the provisions of the Renewal Plan, all signs
shall comply with the standards set forth by the Baltimore City Zoning Ordinance andlor PUD.
These standards regulate the size, type, placement, permanence and non-conformance of signs.

                (g)     The owner of each Property, at its sole cost and expense, at all times, shall
keep all buildings, structures, improvements, fixtures, equipment, machinery, and walkways and
other paved areas constructed, installed, erected, or located on the Property, in good and safe
order and condition and in full and complete repair, both inside and outside, structurally and
otherwise, including the necessary and proper painting. All parking spaces, walkways, trees and
shrubs, landscaped and other open and paved areas constructed, erected or installed on each
Property shall be kept by the owner thereof in a neat, clean, orderly and sanitary condition
including the removal of refuse, rubbish, snow and ice.



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         4.3      Additional Restrictions. In addition to the restrictive covenants set forth in
 Sections 4.1 and 4.2 above, the Properties shall be subjected to such reasonable and customary
 ownership covenants for a residential, commercial andlor mixed-use development as the
 Developer deems necessary, including by way of example and not limitation, restrictions upon
 exterior alterations.

         4.4    Covenant Time Limitations. It is intended and agreed, and each Deed shall so
 expressly provide, that the covenants provided in Section 4.1 shall run with and bind the land
 forever; and the covenants provided in Sections 4.2 shall remain in effect for forty (40) years
 from the date of such deed or until the expiration of the Renewal Plan as it may be extended and
 amended, whichever is later.

                                      END OF ARTICLE IV

                                           ARTICLE V

                                 ASSIGNMENT PROVISIONS

        5.1     General. The Developer acknowledges and agrees that its acquisition of all or a
portion of the Properties, and its other undertakings pursuant to this Agreement are, and will be
used, for the purpose of the development of the Project. The Developer further recogoizes that,
in view of: . (a) the Developer's commitment to the redevelopment of an area that has suffered
from neglect, and (b) the Project's goal of providing the Poppleton community with first-class
residential and commercial benefits, opportunities and facilities, the City agreed to enter into this
Agreement with the Developer. The City acknowledges and expects that the Developer will
acquire title to certain Properties in companies· which are affiliates or subsidiaries of the
Developer (each a "Designee"), conduct some of its activities under this Agreement through
agreements with one or more Builders (hereinafter defined), and/or convey certain of the
Properties to Builders who will construct the Improvements on the Properties conveyed to them,
and that all such situations or agreements do not constitute a prohibited transfer on the part of the
Developer. The City acknowledges and agrees that the Developer expects to eam a profit from
the Project and such agreements.

       5.2     Permitted Transfers. Notwithstanding any provisions of this Agreement to the
contrary, the Developer shall be entitled to do any and all of the following without the prior
consent of the City or Department and to retain any profit earned in connection with the same:

              (a)     convey any or all of the Properties by way of security for and only for the
purpose of obtaining financing necessary to enable the Developer or its successors in interest to
perform their obligations with respect to constructing, owning, holding or operating the
Improvements under this Agreement;

               (b)    sell, assigo, conveyor ground lease combinations of the Properties (each a
"Development Parcel") to one or more homebuilders or commercial builders (each a "Bnilder'')
to construct the Improvements upon the Development Parcel sold, assigoed, conveyed or leased
to such Builder; provided the Developer shall notify the City of such sale, assigoment,
conveyance or ground lease and the name of the Builder and each such Builder shall assume the



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Developer's obligations under this Agreement with respect to the Development Parcel conveyed
to such Builder, and provided further that the Developer may not sell, assign, conveyor ground
lease (i) any of the Properties to Builders without the City's prior consent utitil the Developer has
obtained approval of the PUD, and (ii) more than forty-nine percent (49%) of all of the
Properties subject to this Agreement to Builders without the City's prior consent until
construction of the Improvements within Phase I have been substantially completed;

               (c)    sell, assign, convey and lease any Properties after the Improvements on
such Properties have been completed and a Certificate of Completion has been issued;

              (d)      lease portions of the Properties during construction of the Improvements
on such Properties;

              (e)  transfer or sell membership interests in the Developer or its Designees (i)
among existing members and (ii) for estate planning purposes;

              (f)    transfer or sell membership interests in the Developer or its Designees to
persons or companies who are not members on the Effective Date of this Agreement, provided
that the Developer shall not transfer or assign more than forty-nine percent (49%) in the
aggregate of the membership interests to any such third parties until construction of the
Improvements within Phase I have been substantially completed; and

               (g)    take title to the Properties from the City in one or more Designees, which
Designees will be subject to the terms of this Agreement.

        5.3     Conditions to the Approval of Assignment or Transfer. The City shall be entitled
to require, but shall not be obligated to require, as a condition to the approval of any transfer or
assignment which is not otherwise permitted under this Article V, that:

                (a)     any proposed transferee shall have the qualifications and financial
responsibility, in the reasonable opinion of the City, to fulfill the obligations undertaken in this
Agreement by the Developer; and

                (b)    any proposed transferee, by instrument in writing, shall, for itself, its
successors and assigns and expressly for the benefit of the City and the Department have
expressly assumed all the obligations of the Developer not previously performed under this
Agreement related to the Properties to be transferred to such transferee, and shall have agreed to
be subject to all of the conditions and restrictions to which the Developer is subject hereunder
with respect to such Properties; and

               (c)    the proposed transferee shall not then be in default (beyond applicable
notice and cure periods) under this Agreement with respect to another Phase or subphase.

       5.4     Representation as to OFAC List. The Developer hereby certifies to the City that
none of its principals are identified on the "OFAC List" of specially designated nationals and
sanctioned persons that is maintained by the U.S. Treasury Department, Office of Foreign Assets
Control. The Developer agrees that it shall not sell, assign, conveyor ground lease portions of



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 the Properties or transfer or sale membership interests in the Developer or its Designees to !l1ly
 persons identified on the OFAC List.

                                      END OF ARTICLE V

                                          ARTICLE VI

               MORTGAGE FINANCING AND RIGHTS OF MORTGAGEES

        6.1    Encumbrances. Prior to the completion of the hnprovements as evidenced by the
issuance of a fmal Certificate of Completion by the Department on any particular Property, only
the following types of encumbrances shall be pennitted on such Property:

                (a)    Mortgages securing purchase money financing and refmancing; and

                (b)    Mortgages securing construction and other development financing; and

               (c)   Mortgages securing pennanent fmancing (or refinancing) which replaces
the financing contemplated in Subsections 6.1 (a) and (b) above; and

                (d)    Such easements; covenants:> or oilier enGumbra.'lces which are necessa.T"\j
for the development of the Property and do not conflict with or violate the tenns of the Renewal
Plan and this Agreement, including by way of example and not limitation, condominium
documents.

       The tenn "Mortgages" includes within it Deeds of Trust and other similar evidences of a
lien. The Developer shall forward written details of any financing, easements, covenants, or
other encumbrances to the Department at least ten (10) Business Days after recordation of the
same among the Land Records. Any encumbrances which are not permitted by this Section shall
be promptly removed by the Developer, including' judgments and mechanics liens which must be
discharged or bonded off within sixty (60) days.

       6.2     Holders of Pennitted Mortgages. No holder of a Mortgage (each a "Mortgagee")
authorized by this Agreement shall be obligated to construct or complete the hnprovements or to
guarantee such construction or completion except as provided in Section 6.3. Tile tenn
"Mortgagee", as used in this Agreement, shall be deemed to include any insurer or guarantor of
any obligation or condition secured by sucll Mortgage or other encumbrance.

       6.3     Rights and Duties of Mortgagee Upon Acquisition Prior to Completion. If a
Mortgagee, through the operation of its financing agreement or by assignment, foreclosure, or
deed in lieu of foreclosure acquires fee simple title to the Properties or any part thereof prior to
the completion of sucll Improvements, the Mortgagee sllall have the following options:

              (a)    Complete construction of such hnprovements in accordance with the
approved Construction Plans and in all respects comply with the provisions of this Agreement
regarding such completion, or




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               (b)    Sell, assign, or transfer, with the prior written consent of the Department,
which consent shall not be unreasonably withheld, fee simple title to the Properties or any part
thereof to a purchaser, assignee or transferee who shall expressly assume all of the covenants,
agreements and obligations of the Developer under this Agreement with respect to the Properties
or part thereof, by written instrument satisfactory to the Department and recorded in the Land
Records of Baltimore City, or

              (c)     Reconvey fee simple title to the Properties or part thereof to the City, in
which event the provisions of Section 7.7 relative to resale shall apply.

        6.4    Mortgagee Time Extensions. In the event that a Mortgagee elects to complete
construction pursuant to Section 6.3(a) above, or sells, assigns or transfers pursuant to Section
6.3(b) above, the Department shall extend the time limits set forth in this Agreement as shall be
reasonably necessary to complete construction of the hnprovements, and upon such completion,
the Mortgagee or purchaser, as the case may be, shall be entitled to the Certificate(s) of
Completion or Certificate(s) of Partial Completion in accordance with Sections 3.14 and 3.15.

       6.5     Notice to Mortgagees. Whenever the Department shall deliver any notice or
demand to the Developer with respect to any breach or default by the Developer in its obligations
or covenants under this Agreement, the Department shall endeavor at the same time to forward a
copy of such notice or demand to each Mortgagee at the last address of such Mortgagee at the
last address of such Mortgagee either (i) as supplied by the Developer and as shown in the
records of the Department or (ii) as shown in the Land Records.

                                      END OF ARTICLE VI

                                          ARTICLE VII

                                     DEFAULT; REMEDIES

        7.1      Duty to Cure Default. In the event of any default in or breach of this Agreement,
or any of its terms or conditions, at any time, by either party hereto or any successor to any party,
such party or its successor shall, upon written notice from the other, proceed immediately to cure
or remedy such default or breach and, in any event, within ten (10) days if the cure or remedy.
requires the payment of money, or otherwise within sixty (60) days after receipt of such notice
(or such longer period of time as may be reasonably necessary if such default cannot be cured in
sixty (60) days provided that the defaulting party is proceeding with due diligence to effect a
cure). In case such action is not expeditiously taken or diligently pursued or the default or
breach shall not be cured or remedied within a reasonable time, the aggrieved party may institute
such proceedings at law or in equity which it may deem proper, including but not limited to
proceedings to obtain a writ of mandamus or compel specific performance by the party in default
or breach of its obligations. This Section 7.1 is subject to the provisions of Section 2.1.

       7.2     City Default. In the event that the City does not close on all of the Properties in
each Phase or subphase in the manner and condition, and by the date or dates provided in Article
I of this Agreement, for any reason other than the Developer'S uncured default under this
Agreement, and such default is not cured within one hundred twenty (120) days after written


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 demand, then ·the Developer shall have available to it any remedy under law, including the right
 to seek a writ of mandamus or, to the extent legally available, specific performance, and the
Developer shall have the option, in addition to the remedies specified in Section 7.1, to terminate
this Agreement with respect to one or more Phases of the Project, in which case the Developer
shall be entitled to reimbursement for all of the Developer's cash expenditures for the Phases for
which this Agreement is tenninated, but not to exceed $100,000.00 for each such Phase except as
otherwise provided herein, including but not limited to engineering and architectura1 fees, bond
underwriting fees, mortgage commitment fees, insurance premiums, subsoil investigations and
permits, costs of reimbursement for personnel of the Developer, and attorney's fees, all to the
extent as such costs are established by written statements certified by an officer of the Developer
and provided to the Department in writing within sixty (60) days after the cancellation of this
Agreement with respect to such Phase(s) pursuant to this Section 7.2. Notwithstanding but in
addition to the foregoing, if the City defaults and subsequently sells the Properties within the
given Phase or subphase, the proceeds from the sale on a per Property basis will be disbursed as
follows: "(I) first, to the City to reimburse the City for its site assemblage costs (acquisition,
relocation, and demolition if completed), and (2) second, the remainder of the proceeds to the
Developer to reimburse the Developer for third party costs as documented through the Project's
cost certification procedure performed by a third party accountant. The arrangement set forth in
the preceding sentence shall expire ten (10) years after the date of the City's default. After
termination and except as otherwise provided herein, neither the Department nor the Developer
shall have any further rights against or liability to the other under this Agreement with respect to
snch Phase(s). The provisions of this Section 7.2 do not preclude the Developer from exercising
any of its rights set forth in Article I. This Section 7.2 is subject to the provisions of Section 2.1.

        7.3     City - A Municipal Comomtion. The City is a municipal corporation and can
exercise only those powers gronted it by law, and in the event the City is prevented, restricted, or
delayed in any of the duties and obligations imposed upon it or assumed by it under the terms
and provisions of this Agreement as a result of any legal proceedings, unless institnted by the
City (excluding a condemnation contemplated by this Agreement), or institnted as a result <if the
City's failure to comply with any fedeml, state, or local law, ordinance, or regulation, the City
shall not be liable for any costs, damages, injnries, or liabilities cansed to or suffered or incurred
by the Developer, its successors or assigus in connection with, or as a result of, any such legal
proceedings or any such prevention, restriction or delay. Subject to the time provisions of
Section 7.1, the Developer shall have the right to terminate this Agreement with respect to any
Phase or subphase if the City is prevented, restricted or delayed in any of the City's duties and
obligations imposed on it or assumed by it under this Agreement with respect to such Phase or
subphase.

        7.4     Failure of Developer tn Cure Specific Default Prior to Conveyance. In the event
that at Closing on each Phase or subphase of the Project, the Developer does not pay the
Purchase Price, advance the Reimbursement Amount, and take title to the Properties within such
Phase or subphase at Closing and upon the conditions specified in this Agreement, and provided
that in all cases the City is not in default under this Agreement, and any such default by the
Developer is not cured within sixty (60) days after written demand by the Department, then the
City, in addition to the remedies specified in Section 7.1 of this Article, shall have the right to
terminate this Agreement with respect to such Phase or subphase only, in which event neither the
Developer, its assignee or transferee, nor the City and the Department shall have any further


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 rights against or liability to the other under this Agreement with respect to such Phase or
 subphase of the Project For purposes of this Section 7.4 and notwithstanding the provisions of
 Section 7.12, if the defaulting party is the Poppleton Development I, LLC, then the City may
 terminate this Agreement with respect to any Phase or subphase the rights to which has not been
 assigned or conveyed to any other party.

         7.5     Default by Developer Subsequent to Conveyance and Prior to Completion. In the
 event that subsequent to the conveyance of a Phase or subphase of the Project to the Developer
 and prior to substantial completion of the Improvements within such Phase or subphase:

                (a)     The Developer, or its successor in interest, shall default in or materially
violate its obligations with respect to the construction of the Improvements within such Phase or
subphase, including the nature thereof and the dates for beginning and coinpletion thereof (unless
extended by the Department or in accordance with this Agreement), or shall abandon or
substantially suspend construction for more than twelve (12) months (unless suspension of
construction is caused by a City default or an Event of Force Majeure) and any such default,
violation, abandonment, or suspension shall not be cured or remedied within the cure periods
provided in Section 7.1; or

               (b)    The Developer, or its successor in interest, shall fail to pay real estate
taxes or assessments on the Properties within such Phase or subphase when due without penalty,
or shall place on the Properties within such Phase or subphase any encumbrance or lien
unauthorized by this Agreement, or shall suffer any levy or attachment to be made or any
materialman's or mechanic's lien or any other unauthorized encumbrance or lien to attach and
such taxes or assessments shall not have been paid, or the encumbrance or lien shall not have
been waived or discharged or provision satisfactory to the Department made for such payments,
waiver or discharge, within sixty (60) days after written demand by the Department to do so; or

                (c)   There is, in violation of this Agreement, any transfer of the Properties
which is not permitted by the terms of this Agreement or approved by the Department if such
approval is required by this Agreement and such violation is not cured within sixty (60) days
after written demand by the Department to the Developer;

and provided that in all cases the City is not in default under this Agreement, then the City, in
addition to the remedies specified in Section 7.1 of this Article, shall have the right, at its option,
to re-enter and take possession of the Properties within such Phase or subphase only and upon
which the Improvements have not been substantially completed and to terminate, and revest in
the City, the estate to the Properties within such Phase or subphase upon which the
Improvements have not been substantially completed. It being the intent hereof· that the
conveyance pursuant to this Agreement of the Properties in anyone Phase or subphase to the
Developer shall be made upon a condition subsequent to the effect that, in the event of any
default, failure, violation or other action or inaction by the Developer or its successors and
assigns specified in clauses (a), (b), and (c) of this Section 7.5 with respect to such Phase or
subphase and failure on the part of the Developer or its successors and assigns to remedy, end or
abrogate such default, failure, violation, or other action or inaction within the period and in the
manner stated in said clauses, the City, at its option, may declare a termination in its favor of the
title and all of the rights and interest in the Properties within such Phase or subphase (provided


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 that the Improvements have not been substantially completed within such Phase or subphase),
 and that such title and all rights and interest of the Developer, and any of its allsigns or
 successors in interest in such Properties in such Phase or subphase, shall revert to the City;
 provided, that such condition subsequent and any revesting of title as a result thereof in the City
 shall always be subject and subordinate to any leases for such Phase or subphase and further
 subject to and limited by, and shall not defeat, render invalid, or limit in any way the lien of any
 Mortgage authorized by the terms of this Agreement and executed for the sole purpose of
 obtaining funds for the acquisition or development of the Properties or any rights under any other
 document further securing or protecting the legal rights of any Mortgagee authorized in
 accordance with this Agreement, or any rights or interest provided in this Agreement for the
 protection of such Mortgagees.

       Provided, however, in the event of the revesting of title hereunder, the City shall pay to
the appropriate parties the amount set forth in Section 7.7(c) upon the sale of such Properties in
such Phase or subphase.

         7.6    City's Right to Institute Proceedings. The City shall have the right to institute
such actions or proceedings as it may deem desirable for effectuating the purposes of this Article,
including without limitation the right to execute and record amoug the Land Records a written
declaration of the termination of all rights and title of the Developer, its successors and assigns,
in the specific Properties for which the City has exercised its right of termination in accordance
with this Article and the revesting of title thereto in the City, subject to leases and authorized
Mortgage liens as provided for in Section 6.1; provided, however, that any delay by the City in
instituting or prosecuting any such actions or proceedings or otherwise asserting its rights under
this Article shall not operate as a waiver of its rights, or deprive it of any such rights in any way,
it being the intention hereof that the City should not be constrained so as to avoid the risk of
being deprived of the exercise of any remedy provided in this Article because of concepts of
waiver, laches or otherwise to exercise such remedy at a time when it may still hope otherwise to
resolve the problems created by the default involved, nor shall any waiver in fact made by the
City or the Department with respect to any specific default by the Developer under this Section
be considered or treated as a waiver of the rights of the City and the Department with respect to
the particular default except to the extent specifically waived.

         7.7   Resale by the City. In the event that title to any of the Properties shall revert to
the City in accordance with Sections 6.3(c) or 7.5, the City shall, pursuant to its responsibilities
under the laws of the State of Maryland and the ordinances of the City relating to urban
redevelopment and renewal, use all reasonable efforts to resell such Properties and unfinished
Improvements or such part thereof as soon and in such manner as the Department shall find
feasible and consistent with the objectives of such laws and ordinances and of the Renewal Plan,
as hereafter may be amended from time to time; provided, that the City shall sell the Properties
in a commercially reasonable manner, and use all reasonable efforts to obtain the highest price
that is compatible with the objectives and restrictions applicable to the Properties in the Renewal
Plan, from a qualified and responsible party or parties, whose qualifications shall be determined
by the Department in its sole discretion, and who will assume the obligation of making or
completing the Improvements, or such other improvements in their stead as shall be satisfactory
to the Department and in accordance with the Renewal Plan, as hereafter may be amended from



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     "time to time, and this Agreement. Upon such resale of such Properties, the proceeds thereof
     shall be applied as follows:

                    (a)     First, to reimburse any Mortgagee authorized by this Agreement or
     otherwise approved by the City in an amount equal to (i) the Mortgage debt and the interest
     accrued at the time of revesting title to the subject Properties to the City; (ii) the net expenses, if
     any, exclusive of general overhead and less any rentals or other revenue received while in
     possession of such Properties, incurred by the Mortgagee as a direct result of foreclosure
     proceedings or proceedings in lieu of foreclosure and subsequent management of such
     Properties; and (iii) expenditures made with respect to construction or completion of the
(\
     Improvements and/or ensuring that any partially completed Improvements have been rendered
     safe and closed to public.access;

                     (b)    Second, to reimburse the City on its own behalf and on behalf of the
     Department for (i) any payments made or necessary to be made to discharge any encumbrances
     or liens existing on the subject Properties, or any part thereof, at the time of revesting of title
     thereto in the City or to discharge or prevent from attaching or being made any subsequent
     encumbrances or liens on such Properties due to obligations, defaults or acts of the Developer, its
     successors or transferees, (ii) any expenditures made or obligations incurred with respect to
     ensuring that any partially completed Improvements on such Properties have been rendered safe
     and closed to public access or any amounts otherwise owing to the City or the Department by the
     Developer, its successors or transferees, with respect to such Properties and in accordance with·
     this Agreement, (iii) all reasonable costs and expenses incurred by either the City or the
     Department in connection with the recapture, management and resale of the subject Properties or
     any part thereof (but less any income derived by the City from such Properties, or any part
     thereof, in connection with such management), including, but not limited to, salaries of personnel
     and all taxes, assessments, and other charges with respect to such Properties, or any part thereof,
     and (iv) a sum equal to ten percent (10%) of the Reimbursement Amount applicable to such
     Properties (determined on a pro rata basis in accordance with Schedule B) vested in the City as
     liquidated damages for said default; and

                    (c)     Third, to reimburse the Developer, its successors or transferees, up to the
     amount equal to (i) all reasonable costs and expenses incurred by the Developer or its Designees,
     exclusive of the Mortgage or other loan proceeds represented by an encumbrance or lien on the
     Properties (to the extent repaid in full under Section 7.7(a», in purchasing the Properties,
     preparing for the development of the Project (e.g. engineering, architectural and other fees),
     and/or making any of the Improvements on such Properties; and

                    (d)     Fourth, any balance remaining after such reimbursements shall be retained
     by the City.

             7.8    Mortgagee Notice and Right to Cure. Prior to the City pursuing its remedies
     under Sections 7.6 and 7.7, all Mortgagees shall be given notice and a reasonable opportunity to
     (a) cure any default, or (b) acquire title to the subject Properties and exercise the Mortgagee's
     rights under Section 6.3 above.




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          7.9     Force Majeure. For the purpose of any of the provisions of this Agreement,
 neither the City (fucluding the Department) nor the Developer, as the case may be; nor any
 successor in interest, shall be considered in breach of or default in its obligations, including, but
 not limited to, the preparation of the Properties for development, or the beginning and
 completion of construction of the hnprovements, or progress with respect thereto, if the delay in
 the performance of such obligations is due to causes beyond its control or without its fault or
 negligence, including but not restricted to acts of God or of the public enemy, acts of
 government, acts of terrorism, riots, insurrection, civil commotion, sabotage, malicious mischief,
 vandalism, acts of the other party, fires, storms, floods, explosions, epidemics, quarantine
 restrictions, strikes, lockouts, actions of labor unions, boycotts, freight embargoes, shortages of
 labor, equipment, materials or supplies, material economic downturn, unusually severe weather,
delays of contractors, subcontractors or suppliers, and inability to obtain governmental permits or
approvals (notwithstanding good faith and diligent efforts) (each an "Event of Force Majeure');
it being the pUlJlose and intent of this Section that in the event of the occurrence of any such
delays, the time or times for the performance of the obligations of the parties hereto shall be
extended for the period of the delay (including any time reasonably required to recommence
performance due to such delay); provided, however, that the party seeking the benefit of the
provisions of this Section shall, within thirty (30) days after said party has knowledge of .the
beginning of any such delay, have first notified the other party thereof in writing of the cause or
causes thereof, which entitle.s sllch pa..rty to an. extension of time. The affP...cted pac.'ty shaH use
commercially reasonable efforts to remedy with all reasonable dispatch the cause or causes
preventing it from carrying out this Agreement; ill!!! provided further, that the settlement of
strikes, lock outs and other industrial disturbances shall be entirely within the discretion of the
affected party, and the affected party shall not be required to make settlement of strikes, lock
outs and other industrial disturbances by acceding to the demands of the opposing party or
parties when such course is, in the judgment of the affected party, unfavorable to the affected
party. Any failure to provide notice within the timeframe provided above shall not deny the
benefit of this provision to the party seeking its protection; however the delay in delivery of such
notice beyond such timeframe shall be deemed to rednce the period for performauce of any
provisions delayed by the Event of Force Majeure.

        7.10 Rights and Remedies - Cumulative. The rights and remedies of the parties to this
Agreement, whether provided by law or by this Agreement, shall be cumulative, and the exercise
by either party of anyone or more of such remedies shall not preclude the exercise by it, at the
same or different times, of any other such remedies for the same default or breach or of any of its
remedies for any other default or breach by the other party. Any waiver by either party with
respect to performance, or the manner or time thereof, shall be limited to the specific event
unless otherwise stated in writing.

        7.11 Liability Terminated. Except as specifically provided herein, neither the
Developer, its Designees, assignees or transferees, nor the City and the Department shall have
any further rights against, or liability to, each other under this Agreement, following termination
of this Agreement.

       7.12 Separation of Phases. Notwithstanding any provision of this Agreement to the
contrary, the City and the Department acknowledge that, in light of the proposed development of
the Project in Phases or subphases, (i) any default by the Developer shall not affect any Phase or


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subphase as to which a Certificate of Completion has been issued, (ii) any default by the
Developer uilder this Agreement shall not affect the rights hereunder of any successor, assignee
or other transferee from the Developer with respect to the Phase(s) or subphase(s) held by such
successor, assignee or other transferee and this Agreement shall be applied to such Phase(s) or
subphase(s) as though an independent agreement had been entered into with respect to each such
Phase or subphase, and (iii) any default by any successor, assignee or other transferee from the
Developer with respect to the Phase(s) or subphase(s) held by such successor, assignee or other
transferee shall not affect the rights of the Developer under this Agreement and this Agreement
shaU be applied to such Phase(s) or subphase(s) as though an independent agreement had been
entered into with respect to each such Phase or subphase.

                                      END OF ARTICLE VII

                                         ARTICLE VIII

                                     REPRESENTATIONS


       8.1     Representations by the City. The City makes the following affirmative
representations as of the Effective Date of this Agreement, each of which shall be deemed
remade as of each Ciosing vate:

               (a)     the City is a political subdivision of the State of Maryland and a body
politic and corporate, duly organized and validly existing under the Constitution and laws of the
State of Maryland, with full legal right, power, and authority to enter into and perform its
obligations under this Agreement;

                (b)      the City has duly authorized the execution and delivery of this Agreement,
and this Agreement has been duly executed and delivery by the City and constitutes legal, valid,
and binding obligations of the City, enforceable in accordance with their terms, but subject to
applicable bankruptcy laws, insolvency, reorganization, moratorium or similar laws affecting
creditors' rights, or, to the extent that certain remedies require enforcement by a court of equity,
such principles of equity as the court having jurisdiction may apply;

                (c)   to the best of its knowledge, the execution, delivery, and performance by
the City of this Agreement will not violate any provision of Applicable Law, rule, or regulation
pertaining to the City's ability to enter into this Agreement, or any judgment, order, or decree
binding upon the City, the violation of which might have a materially adverse effect upon the
City; and

                 (d)     there are no actions, suits, or proceedings pending against the City or
threatened against the City, before or by any court, governmental body or agency, or other
tribunal or authority that WOUld, if adversely determined, have a materially adverse effect on the
authority or ability of the City to perform its obligations under this Agreement, or which question
the legality, validity, or enforceability hereof.




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       8.2     Representations by Developer. Developer makes the following affinnative
representations as of the Effective Date of this Agreement, each of which shall be deemed
remade as of each Closing Date:

               (a)    the Developer (i) is a limited liability company which is (A) duly
organized under the laws of the State of Maryland and is authorized and in good standing to
engage in business in the State of Maryland, (ii) has the full legal capacity to perform its
obligations described herein and has all necessary right and lawful authority to enter into this
Agreement for the full term hereof; and (iii) has been duly authorized by all proper and necessary
company action as may be required, to execute and deliver this Agreement;

                (b)    this Agreement, when executed and delivered on behalf of the Developer,
will constitute the legal, valid, and binding obligation of the Developer enforceable in
accordance with its terms, except as the same may be limited by applicable bankruptcy,
insolvency, reorganization, moratorium, or similar laws affecting creditors' rights, or, to the
extent that certain remedies hereunder require or may require enforcement by a court of equity
such principles of equity as the court havingjuriscliction may apply;

               (c)     to the best of its knowledge, the execution, delivery, and performance by
the Developer of this Agreement will not violate any provision of Applicable Law, rule, or
regulation pertaining to Developer's ability to enter into this Agreement, or any judgment, order,
or decree binding upon it, the violation of which might have a materially adverse effect upon the
Developer, the construction of the Improvements, or the Project;

               (d)     there are no actions, suits, or proceeding pending against the Developer or,
to the knowledge of the Developer, threatened against the Developer before or by any court,
governmental body or agency, or other tribunal or authority which would, if adversely
determined, have a materially adverse effect on the authority or ability of the Developer to
perfonn its obligations under this Agreement, or which question the legality, validity, or
enforceability hereof or thereof;

                ( e)    neither the execution and delivery of this Agreement nor the
consummation of the transactions contemplated hereby nor the fulfillment of or compliance with
the tenns and conditions of this Agreement, conflicts with or will result in a breach of any of the
terms, conclitions, or provisions of any restriction or any agreement or instrument to which the
Developer is now a party or by which it is boUnd, or constitutes a default under the terms of any
of the foregoing; and

               (f)     the Developer is not a "foreign person" as such term is defined in Section
897 of the Internal Revenue Code of 1986, as amended.


                                       END OF ARTICLE VIII




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                                           ARTICLE IX

                                MISCELLANEOUS PROVISIONS

        9.1     No Partnership or Joint Venture. It is mutually understood and agreed that
nothing contained in this Agreement is intended or shall be construed in any manner or under
any circumstances whatsoever as creating or establishing the relationship of co-partners, or
creating or establishing the relationship of a joint venture, between the City and the Developer or
as constituting the Developer as the agent or representative of the City for any purpose or in any
manner whatsoever, it being understood that the Developer is an independent contractor
hereunder.

      9.2      Recording, Documentary Stamps. This Agreement or a memorandum of this
Agreement, and any modification thereof, may be recorded among the Land Records, at the
expense of the Developer.

       9.3    Executed in Mruyland. This Agreement shall be taken and deemed to have been
fully made and executed by the parties hereto as an instrument under seal in the State of
Maryland for all PUIposes and intent.

        9.4     Conflicts of Interest: Department Representatives Not individuaily Liable. No
member, official, representative, or employee of the City or the Department shall have any
personal interest, direct or indirect, in this Agreement, nor shall any such member, official,
representative, or employee participate in any decision relating to this Agreement which affects
his personal interest or the interests of any corporation, partnership, or association in which he is,
directly or indirectly, interested. No member, official, representative, or employee of the City or
the Department shall be personally liable to the Developer or any successor in interest in the
event of any default or breach by the City or the Department or for any amount which may
become due to the Developer or successor or on any obligations under the terms of the
Agreement.

        9.5     Notice. Unless otherwise specified in this Agreement, a notice, communication or
request under this Agreement by either the City or the Department to the Developer, or by the
Developer to the City or the Department shall be sufficiently given or delivered if sent by either
(a) certified mail, postage prepaid, return receipt requested, (b) overnight delivery service, or (c)
hand delivery (if receipt is evidenced by a signature of the addressee or authorized agent), and
addressed:

               (a)     Developer. In the case of notice or communication to the Developer, as
follows:

                                  Poppleton Development I, LLC
                                      La Cite Development
                                      520 Franklin Avenue
                                  Garden City, New York 11530
                              Attu: Mr. Daniel Bythewood, President




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                                          with a copy to:
                                  Gordon, Feinblatt, Rothman,
                                 Hoffberger & Hollander, LLC
                                       The Garrett Building
                                     233 East Redwood Street
                                Baltimore, Maryland 21202-3332
                                Attn: C. Edward Hitchcock, Esq.

                                             and to:
                             Ballard Spahr Andrews & Ingersoll, LLP
                               300 East Lombard Street, ISth Floor
                                Baltimore, Maryland 21202-3268
                                  Attn: Raymond G. Truitt, Esq.

              (b)     Department. In the case of a notice or communication to the City or the
Department, as follows:
                      Department of Housing and Community Development
                                    417 East Fayette Street
                                  Baltimore, Maryland 21202
                                     Attn: Commissioner
                                          with a copy to:

                      Department of Housing and Community Development
                              417 East Fayette Street, Suite 301
                                  Baltimore, Maryland 21202
                                     Attn: Alastair Smith

or if such notice is addressed in such other way in respect to any of the foregoing parties as that
party may, from time to time, designate in writing, dispatched as provided in this Section.
Notice sent by mail shall be deemed given three (3) days after being deposited with the U.S.
Mail, notice sent by overnight delivery shall be deemed given one (1) Business Day after being
deposited with the ovemight carrier, and notice sent by hand delivery shall be deemed given
when delivered. .

       The submission of plans and other design related or construction related communications
in accordance with Article ill may be delivered directly and only to the Department, as the
Developer may be instructed from time to time.

         9.6    Interpretation. In the event of any question regarding the meaning of any of the
restrictive covenants, agreements, or provisions contained in this Agreement or the Renewal
Plan, the interpretation placed thereon by the Department shall be final and binding on the parties
hereto; provided, that any such interpretation shall not be unreasonable or arbitrary.

     9.7     City Disclaimer. While it is the present intention of the City to carry out the
Renewal Plan as soon as practicable, nothing contained in this Agreement shaH be construed as a


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estoppel certificate, it being intended that any such statement delivered hereunder may be relied
upon by the party or the Mortgagee requesting such statement. The Mayor and the
Commissioner, or the designee of eitlier of them, are each hereby authorized to execute,
acknowledge and deliver such certificates on behalf of the City.

        9.16 Payment or Perfonnance on Saturday. Sunday or Holiday. Whenever the
provisions of this Agreement call for any payment or the performance of any act on or by a date
that is not a Business Day, including the expiration date of any cure periods provided hereiu,
then such payment or such perfonnance shall be required on or by the immediately succeeding
Business Day. For the purposes of this Agreement, the tenn "Business Day" shall mean a day
other than a Saturday, Sunday or legal holiday in the State of Maryland or in Baltimore City.

       9.17 Entire Understanding.' This Agreement expresses the entire understanding
between the City, the Department and the Developer with respect to the matters set forth herein
and supersedes any and all prior agreements by and between the City, the Department and the
Developer. Neither party shall be bound by any tenns, covenants or agreements not herein
contained.

        9.18 Successors and Assigns. This Agreement shall be binding upon and inure to the
benefit of the parties hereto and their respective successors and assigns; provided, however, this
Agreement is binding on, and shall inure to the benefit of, such successors and assigns (including
any Designees) only to the extent such benefits, obligations and burdens relate to the portions of
the Project Area in which such successors and assigns shall have either acquired title, or have
contractual rights to acquire, such title.

       9.19 Reasonableness. Wherever in this Agreement a party's consent is required, that
consent will not be unreasonably withheld, conditioned or delayed.

       9.20 Incorporation into Agreement. All exhibits, schedules, and recitals fonn a part of
this Agreement. In particular, the following Schedules are attached to and made a part of this
Agreement:

               Schedule A            Property Description
               ScheduleB             Purchase Price, Reimbursement Amount and Affordable
                                       Housing Credits
               ScheduleC             Fonn of Commitment to Comply with the Minority and
                                       Women's Business Enterprise Program
               ScheduleD             Project Description
               Schedule E            Fonn of Memorandum of Understanding
               ScheduleF             Phasing Plan            .

                                    END OF ARTICLE IX




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                                         ARTICLE X

                                 PROJECf DESCRIPTION

        10.1 The Project. A description of the work to be done by the Developer, the financing
therefor, the method of conveyance by the City and all other relevant details of the Project are
ftuther described on Schedule D.

                                     END OF ARTICLE X


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       IN WI1NESS WHEREOF, the City has caused this Agreement to be duly executed in its
name and behalf by the Commissioner of the Department of Housing and Community
Development, and its seal to be hereunto duly affixed and attested by its Custodian of the City
Seal, and the Developer has caused this Agreeme to be duly executed and attested by its
Members, on the day and year first above written.



A~!I:             __-.                     By::-+-:%-:;::~-=----:--;--_~~
                                                aul T. Graziano, Commissioner
                                               Department of Housing and Community
                                               Development


ATTEST:                                    POPPLETON DEVELOPMENT I, LLC




                                           By: BIH Holdings, LLC, Member


                                    I! J
                                       ?
                                            .~        ---»
                                                    Patrick Smith, Manager
                                                                                    (SEAL)

                                   IIr3;W/O
APPROVED AS TO FORM AND LEGAL SUFFICIENCY:


       ~ C,
Chief Solicitor                                Date




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        TIDS IS TO CERTIFY, that the Commissioner of the Department of Housing and
 Community Development has approved all the terms and conditions contained in the foregoing
 Agreement between POPPLETON DEVELOPMENT 1, LLC, and the MAYOR AND CITY
 COUNCIL OF BALTIMORE and recommends that the foregoing Agreement be approved by
 the Board of Estimates.

                                           DEP lI'i'lll..n:INT OF HOUSING AND
                                            COMM~ITY DEVELOPMENT



                                           By.~~~__~~~____
                                              Paul T. Graziano, Commissioner


      The Board of Estimates this _ _ day of                  , 2006, acting upon the
approval and recommendation of the Commissioner of the Department of Housing and
Community Development hereby approves the foregoing Agreement between POPPLETON
DEVELOPMENT 1, LLC, and the MAYOR AND CITY COUNCIL OF BALTIMORE.

                                           BOARD OF ESTIMATES            _ _ _ 'I!!M'
                                                                         litl" ~ 7 tUW

                                       ~ .)},'Y"                                   ..
STATE OF MARYLAND, COUNTY OF BALTIMORE, to wit:

       I HEREBY CERTIFY that, on        th~O<      day of,if~ . )             ,2006, before the
subscriber, a Notary Public of the State of Maryland, personally appeared Daniel Bythewood, the
President of LaCite, LLC, a Member of Poppleton Development I, LLC, and that he, being
authorized to do so, acknowledged the foregoing Agreement to be the act and deed of said
company.

            AS WITNESS my hand and Notarial Seal.




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 STATE OF MARYLAND, COUNTY OF BALTIMORE, to wit:

        I HEREBY CERTIFY that, on th~ day of                                  2006, before the
 subscriber, a Notary Public of the State of Maryland, rsonally appeared Patrick Smith, the
 Manager of BIll Holdings, LLC, a Member of Poppleton Development 1, LLC, and that he,
 being authorized to do so, acknowledged the foregoing Agreement to be the act and deed of said
 company.




 STATE OF MARYLAND, CITY OF BALTIMORE, to wit:

       I HEREBY CERTIFY that, on this _ _ day of                            , 2006, before the
subscriber, a Notary Public of the State of Maryland, aforesaid, personally appeared Paul T.
Graziano, Conunissioner of the Department of Housing and Community Development, and he
acknowledged the foregoing Agreement to be the corporate act and deed of the MAYOR AND
CITY COUNCIL OF BALTIMORE.

            AS WITNESS my hand and Notarial Seal.



                                          Notary Public

                                          My Conunission expires:




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 •

  STATE OF MARYLAND, CITY OF BALTIMORE, to wit:
         I HEREBY CERTIFY that, on this I~ day of ~                           , 2006, before the
  subscriber, a Notary Public of the State of Maryland, aforesaid, personally appeared Paul T.
  Graziano, Commissioner of the Department of Housing and Community Development, and he
  acknowledged the foregoing Agreement to be the corporate act and deed of the MAYOR AND
  CITY COUNCIL OF BALTIMORE.

            AS WITNESS my hand and Notarial Seal.



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                                    Attorney Certification

       This Land Disposition and Development Agreement has been prepared under the
supervision of the undersigned, an attorney admitted to practice before the Court of Appeals of


_wm                                      ~              ~,
                                        Danie~ire




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                                                                              Schedule A

                                                          Poppleton Development I, LLC

                                                                 Poppleton Neighborhood

                                  PROPERTY DESCRIPTION

       The legal description for each Property shall be prepared by the title company
conducting Closing and the cost thereof shall be paid by the Developer. Upon the title
company's completion of each legal description, a copy shall be provided to the City for
review and approval.

        The City shall use its best efforts and all legal authority to acquire all of the
Properties listed under "Project Site" and "Scattered Site Rehabilitation" in this Schedule
A of the Agreement and/or shown on the Phasing Plan attached as Schedule G. The City
may remove Properties from the Project Area only in connection with the construction of
public works. If the removal of any such Properties may cause a decrease in the total
density of the Project, then the Department will offer its assistance to allow the
Developer to compensate aTlY lost density in one are-a by allowing for additional density
in other areas within the Project Area. An example of this would be construction of the
new Red Line of mass transit.

                                          PROJECT SITE




Schedule A Poppleton Housing Initiative                                                 35
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                                     PHASE 3 - BLOCK 0170




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** Notwithstanding the fact that the Properties located in Block 0157 and listed immediately
above are in Phase 4, the City will acquire such Properties and conduct clearing activities with
respect to such Properties in connection with Phase I for purposes of neighborhood safety.




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                          SCATTERED SITE REHABILITATION




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                                                                              ScheduieB

                                                          Poppleton Development I, LLC

                                                                 Poppleton Neighborhood

               PURCHASE PRICE, THE REIMBURSEMENT AMOUNT
                    AND AFFORDABLE HOUSING CREDITS

A.      Purchase Price and Reimbursement Amount

        At each Closing, the Developer shall pay to the City the following amounts:

      1.     One Dollar ($1.00) per Property purchased at such Closing (the
"Purchase Price"); plus

        2.'      An amount (the "Reimbursement Amount") equal to the following:

               (a)    $16.00 per square foot of the land comprising the Properties
purchased at such Closing, minus

               (b)    The "Affordable Housing Credit" (defined below) attributable to
the Properties purchased at such Closing, plus

                (c)    A pro rata portion of One Million Dollars ($1,000,000.00)
attributable to the Properties purchased at such Closing, such pro rata portion to be
determined by (i) dividing the square footage of the Properties acquired at the Closil)g by
the total square footage of all Properties listed on Schedule A, and (ii) mUltiplying that
number by $1,000,000.

       The Purchase Price plus the Reimbursement Amount represent the total value
negotiated between the City and the Developer.            The parties agree that the
Reimbursement Amount is intended to reimburse the City for certain expenses incurred
by the City with respect to the acquisition and preparation of the Properties for
conveyance to the Developer. Notwithstanding the calculation set forth in Section A.2
above, if at any Closing the number reached by subtracting the amount for Section A.2(b)
from the amount for Section A.2(a) is a negative amount, then such number shall be
deemed to be zero, so that the Reimbursement Amount at such Closing shall equal the
pro rata portion of One Million Dollars attributahle to the Properties purchased at such
Closing, and the Developer shall pay that Reimbursement Amount at that Closing plus
One Dollar ($1.00) per Property.

B.      Consideration for Provision of Affordable Housing

        The Developer shall receive a credit (the "Affordable Housing Credit") at each
Closing in consideration for the Developer's provision of affordable housing, which
credit shall reduce the total amount payable by the Developer at each Closing as set forth
in Section A.2 of this Schedule B. The Affordable Housing Credit shall be calculated by

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      multiplying the number of rental and homeownersbip properties to be provided with
      respect to the Properties copreyed at a Closing by the consideration for each unit type
      (size and affordability level] aGcording to the charts entitled "Affordable Housing Credit -
      Rentals" and "Affortla,ble· Housing Credit - Homeownership" set forth below in tbis
      Schedule B.               .. ,

                                AFFORDABLE HOUSING CREDIT - RENTAL

       Affordable Houslna Credit - Rental
       % AMI         Studio         1 BR                2BR           3BR          4BR
                       30   $    90225    $    80325    $   70650     $ 60,975     $     53,100
                       50   $    44,775   $    26,275   $   12,150    $      0     $          0
                       60   $    22,050   $     2,250   $        0    $      0     $          0
                       80   $         0   $         0   $        0    $      0     $          0
                      100   $         0   $         0   $        0    $      0     $          0
                      120   $         0   $         0   $        0    $      0     $          0
                      150   $         0   $         0   $        0    $      0     $          0


                       AFFORDABLE HOUSING CREDIT - HOMEOWNERSHIP
       Affordable Houslna Credit.- Homeownershl
       % AMI         Studio         1 BR        2BR                   3BR          4BR
                       30   $ 156,503     $ 223847      $   264,410   .$ 279,973   $ 297,292
                       50   $ 114,172     $ 173,078     $   207,349    $ 216,621   $ 226,819
                       60   $ 92,006      $ 147,693     $   178,819    $ 184,946   $ 194,583
                       80   $ 47,674      $ 96,924      $   121,759    $ 121,594   $ 126111
                      100   $   3,343     $  46,155     $    64,699    $  58,242   $   57,638
                      120   $       0     $       0     $     7,638    $       0   $        0
                      150   $       0     $       0     $         0    $       0   $        0


     C.          Affordable Housing Restrictions

                 1.  Rental. For each Phase or subphase, the deed to the Developer will
     include a restriction requiring the specified number of units for each bedroom size to be
     affordable to households with incomes of the specified percentage of the Baltimore Area
     Median Income (AMI) as defined by the federal Department of Housing and Urban
     Development. The deed restriction will automatically terminate after a period of 15 years
     from the date of the applicable deed.

            2.      Homeownership. The Developer will sell a specified number of units for
     each bedroom size to be affordable to households with incomes of the specified
     percentage of the Baltimore Area Median Income (AMI) as defmed by the federal
     Department of Housing and Urban Development at the time of sale. Each deed to a
     purchaser of an affordable unit shall identify the Affordable Housing Credit attributable
     to the purchaser's unit and shall provide that the purchaser must pay to the City at
     settlement an amount equal to such Affordable Housing Credit if the purchaser sells the
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        unit to an unrelated party at any time during the first 24 months after the date of the deed.
        Thereafter, the amount to be paid by the purchaser to the City upon a sale of the unit shall
        be decreased by 20% each year over the following 5 years, so that, for example, if the
        purchaser sells the unit to an unrelated party during the 73rd through 84th months, then
        the purchaser shall pay to the City an amount equal to 20% of the Affordable Housing
        Credit for the unit

                      Prior to each sale of an affordable housing unit, the Developer shall
        provide a copy of the proposed deed to the Department.

        D.          Affordable Housing Reporting and Compliance

                 The Developer will provide an annual report to the Department identifying the
        number of affordable housing units constructed within the previous 12-month period aod
        listing the following infonnation:

                           1.   Addresses aodlor unit numbers;

                           2.   Rental aodlor sales price;

                          3.    The qualifying income attributable to each unit based on HUD's then
                                current AMI chart;

                          4.    The uame of the person(s) who have purchased affordable housing
                                units;

                          5.    Copy ofthe HUD-l for each sale of an affordable housing unit; and

                          6.    Copy of the deed for each sale of ao affordable housing unit

                In addition to the foregoing, the Developer shall provide to the Department such
        other infonnation concerning the provision of affordable housing units as the Department
        may reasonably request.

        E.          Provision of Affordable Housing Units

                 At least twenty percent (20%) of the entire Project will be comprised of
        affordable housing units. In addition, the Developer wiII use commercially reasonable
        efforts to meet the following goals for the provision of affordable housing units, provided
        however, the Developer's failure to meet the following specific goals shall not constitute
        an event of default under the Agreement:

                    1.    Phase 1: Approximately S9 rental units wiII be affordable at 60-80% AMI
                          aod approximately 68 homeownership units will be affordable at 60-80%
                          AMI.

                2.        Phase 2: Approximately 88 homeownership units wiII be affordable at
                          80% AMI.

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                3.      Phase 3: Approximately 33 homeownership units will be affordable at 80-
                        100% AMI.

                4.     Phase 4: Approximately 84 homeownership units will be affordable at 80-
                       100% AMI.

              In addition to the foregoing, the Developer will use commercially reasonable
      efforts to make additional rental and homeownership units affordable to lower income
      households, but not to exceed 50% AMI, and provided the City provides financial
      subsidies for such additional affordable units.




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                                       ScheduleC

                            COMMITMENT TO COMPLY
                                       WITH THE
        MINORITY AND WOMEN'S BUSINESS ENTERPRISE PROGRAM
                    OF THE CITY OF BALTIMORE


In consideration for receiving fiscal assistance from or through the City of Baltimore, the

Developer covenants and agrees to comply with Article 5, Subtitle 28 of the Baltimore

City Code (2000 Edition) regarding participation by Minority Business Enterprises

(MBE) and Women's Business Enterprises (WBE) in its development of the project

known as, as defmed in the Agreement commonly known as the Poppleton Housing

Initiative. Developer covenants and agrees to use all reasonable good faith efforts to

meet the following MBE and WBE participation goals for this project as applicable:


       CONSTRUCTION
       MBE goal is 27%
       WBE goal is 8%

       SERVICES
       MBE goal is 17%
       WBE goal is 9%


       ARCHITECTURAL AND ENGINEERING
       MBE goal is 21 %
       WBE goal is 13%


Prior to the commencement of construction, Developer agrees to submit to the City

written documentation, including executed contracts, service agreements, or utilization

commitroent forms which shall identify the particular minority and women's business

enterprises (i) contracting directly with the Developer, or (ii) subcontracting with prime

contractors who have contracted directly with the Developer. The executed contracts,

service agreements, or utilization commitment forms submitted to the City shall specify

the dollar value of the participation, the type of work to be performed, and such other

information as may be reasonably required by the City.
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The City's Minority and Women's Business Opportunity Office (MWBOO), or its

successor, is designated to administer the provisions of the law on behalf of the City.

Developer shall comply with the rules and regulations of the MWBOO or its successor in

meeting the requirements of the law.



THE UNDERSIGNED DO SOLEMNLY DECLARE AND AFFIRM THAT THEY
ARE AUTHORIZED TO MAKE TillS COMMITMENT.


                                       FOR:   1?,qt?ftk P(.vc4yt___1- f, Ll.c..

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                                       BY: __________________________




Chief, Minority and Women's Busmess p ortunity Office


Anticipated Starting Date of Construction

Date: _ _ _ _ _ _ _ _ _ _ __
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                                        ScheduleC

                            COMMITMENT TO COMPLY
                                       WIlli THE
        MINORITY AND WOMEN'S BUSINESS ENTERPRISE PROGRAM
                    OF THE CITY OF BALTIMORE


In consideration for receiving fiscal assistance from or through the City of Baltimore, the

Developer covenants and agrees to comply with Article 5, Subtitle 28 of the Baltimore

City Code (2000 Edition) regarding participation by Minority Business Enterprises

(MBE) and Women's Business Enterprises (WBE) in its development of the project

known as, as defined in the Agreement commonly known as the Poppleton Housing

Initiative. Developer covenants and agrees to use all reasonable good faith efforts to

meet the ioliowing MBE and WBE participation goals for this project as applicable:


        CONSTRUCTION
        MBE goal is 27%
        WBE goal is 8%

       SERVICES
       MBE goal is 17%
       WBE goal is 9%


       ARCHITECTURAL AND ENGINEERING
       MBE goal is 21 %
       WBE goal is 13%


Prior to the commencement of construction, Developer agrees to submit to the City

written documentation, including executed contracts, service agreements, or utilization

commitment forms which shall identify the particular minority and women's business

enterprises (i) contracting directly with the Developer, or (ii) subcontracting with prime

contractors who have contracted directly with the Developer. The executed contracts,

service agreements, or utilization commitment forms submitted to the City shall specify

the dollar value of the participation, the type of work to be performed, and such other

information as may be reasonably required by the City.
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The City's Minority and Women's Business OpportUnity Office (MWBOO), or its

successor, is designated to administer the provisions of the law on behalf of the City.

Developer shall comply with the rules and regulations of the MWBOO or its successor in

meeting the requirements of the law.



THE UNDERSIGNED DO SOLEMNLY DECLARE AND AFFIRM THAT THEY
ARE AUTHORIZED TO MAKE THIS COMMITMENT.


                                       FOR      rOff' ~
                                       By: __________________________
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                                       BY:~
                                       DATE: _ _c;--.:.l-\--,'1--t-l.::...D-=.1.,_ _ _ __
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                                               rtunity Office


Anticipated Starting Date of Construction

Date: _ _ _ _ _ _ _ _ _ _ ___
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                                                                                    ScheduleD

                                                                 Poppleton Development I, LLC

                                                                       Poppleton Neighborhood


                                      PROJECT DESCRIPTION

A.          General

The Project shall include the new construction of a minimum of 1,200 rental and "for sale"
housing units, totaling a minimum of 2,000,000 square feet of housing, and a minimum of
80,000 square feet of retail space within the Project Area. In addition to any time extensions
provided by the Agreement, the Commissioner of the Department shall have the right to grant an
extension to any timeline described in the Agreement andlor this Schedule upon a timely written
request from the Developer and solely upon his or her reasonable discretion.

B.          Site Plan

All Properties included in the Project Area are located within the Poppleton neighborhood,
except those Properties identified for Scattered Site Rehabiiitation are located in both the
Poppleton and adjacent Franklin Square neighborhoods .. -The Project Area includes all of the
Properties identified in Schedule A of this Agreement: The Developer may add additional
properties acquired privately to the Project Area at its discretion.

C.         Buildiug Plan

The Project shall include the following components:

1.     Rehabilitation of Properties Within Project Site. The Developer will rehabilitate all of
the Properties identified in Schedule A for Rehabilitation. Such Properties are to be offered for
homeownership. Rehabilitation will be done in accordance with the Memorandum of Agreement
executed between the Developer, the City, and the Maryland Historical Trust, a copy of which is
attached to the Agreement as Schedule F.

2.     Rehabilitation of Scattered Site Properties. The Developer will rehabilitate all of the
Properties identified in Schedule A for Scattered Site Rehabilitation. Such Properties are to be
offered for homeownership or residential lease.

3.     New Construction of Housing and Retail on Project Site. The Developer will construct a
minimum of twelve hundred (1,200) rental and "for sale" housing units, totaling a minimum of
two million (2,000,000) square feet of housing, and approximately eighty thousand (80,000)
square feet of retail space within the Project Area. Development is expected to proceed in four
(4) Phases, as shown on the Phasing Plan attached to the Agreement as Schedule G. Phases are
expected to proceed in 30 or more month increments, with completion anticipated in the year
2016.



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·'D.        Method of Conveyance

 The City shall convey all of its rights, title and interest iI). the Properties to the Developer by
 Deed in accordance with Article II and Schedule B of this Agreement.

 E.         Financing

 Except as otherwise provided in the Agreement, the purchase of the Properties and the
 construction of the Improvements will be financed through private sources.

 F.         Down Payment and Credit

 No down payment is required for this transaction.

 G.         Good Faith Deposit

 No good faith deposit shall be required for this transaction.

H.          Marketing

The Developer agrees to afftrmatively market all housing units to current residents of West
Balti.1!lore. All Propertie.s c.onveyed to the Developer for rehabilitation wi!! be actively markete.d
to residents that have been, or will be, relocated for the purposes of the Project. Residents that
have been, or will be, relocated for the purposes of the Project will be provided with first
preference for the purchase or lease of rehabilitated or newly constructed housing units;
provided, however, such prospective purchasers or renters meet the same objective eligibility
standards as other prospective purchasers or renters. The Developer shall provide the City with a
marketing plan for Phase I within six months of the Effective Date of this Agreement.

I.          Additions to Development Site

The City recognizes that the Developer has initiated negotiations to add the following two
parcels, or some portion of the parcels, to the Project Area:

1.     Harbor City High School and adjacent land (1001 W. Saratoga Street). This property
is owned by the Mayor and City Council of Baltimore City, under the jurisdiction of the
Baltimore City Public School System. The City will make all reasonable efforts to support
improvements to the physical conditions and academic environment at this property.

2.      North side of 900 block of W. Baltimore Street. This block is bounded by Baltimore
Street to the south, Fairmount Street to the north, Amity Street to the east, and Schroeder Street
to the west. These properties are currently owned by the State of Maryland.

The City and the Department will make all reasonable efforts to assist in the conveyance of these
properties to the Developer.




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                                                                   ScheduleE

                                                  Poppleton Development 1, LLC

                                                       Poppleton Neighborhood



                       FORM OF MEMORANDUM OF UNDERSTANDING




Schedule E Poppleton Housing Initiative                             57
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                        MEMORANDUM OF AGREEMENT
                                  AMONG
    THE MARYLAND DEPARTMENT OF HOUSING AND COMMUNITY DEVELOPMENT,
        THE BALTIMORE CITY DEPARTMENT OF HOUSING AND COMMUNITY
                              DEVELOPMENT,
                     . POPPLETON DEVELOPMENT I, LLC,
       THE BALTIMORE COMMISSION FOR HISTORICAL AND ARCHITECTURAL
                              PRESERVATION
                                   AND
                     THE MARYLAND HISTORICAL TRUST
                                REGARDING
                    THE POPPLETON HOUSING INITIATIVE
                           BALTIMORE, MARYLAND

WHEREAS, the Baltimore City Department of Housing and Community Development (Baltimore
DCHD) has requested funding from the Maryland Department of Housing and Community Development
(MD DHCD) Community Legacy Program in order to acquire properties within the Poppleton
Neighborhood of Baltimore, Maryland (Undertaking); and

WHEREAS, the properties acquired by the Baltimore DHCD will be transferred to Poppleton
Development I, LLC (Poppleton Development), a private real estate development corporation, in order to
assist in the implementation of Poppieton Development's redevelopment of the Poppleton Neighborhood;
and.

WHEREAS, the MD DHCD, the Baltimore Commission for Historical and Architectural Preservation
(CHAP) and all other parties to this Memorandum of Agreement (Agreement) have consulted with the
Maryland Historical Trust (Trust) pursuant to the Maryland Historical Trust Act of 1985, as amended,
State Finance and Procurement Article §§ 5A-325 and 5A-326 of the Annotated Code of Maryland, in
order to assess the effects of the Undertaking on historic properties; and

WHEREAS, the Trust has determined that the Undertaking will constitute an adverse effect on the
National Historic LandmarkfMaryland Register of Historic Properties (MIHP) listed Edgar Allan Poe
House (MIHP Number B-50) at 203 N. Amity St., and the Maryland Register of Histonc Properties-listed
Sarah Ann Row Houses (MIHP Number B-2427) at 1102-1122 Sarah Ann St. and the Metro Metals
Building (MIHP Number B-2444) at 900-902 W. Saratoga St.; and

WHEREAS, the Trust has also determined that the Undertaking will constitute an adverse effect on an
adjacent Maryland Register of Historic Properties-listed historic district that was identified in a 1975
survey of the Poppleton Neighborhood (MIHP Number to be determined); and

WHEREAS, the Trust has also detennined that the Undertaking has the potential to atTect archeological
site ISBClSI, an archeological resource that may be eligible for listing in the Maryland Register of
Historic Properties pending the results of site evaluation; and

WHEREAS, this Agreement establishes a process 10 consider the effects of the Undertaking on
archeological resources in consultation with the Trust;

NOW, THEREFORE, the MD DHCD, the Baltimore DHCD, Poppleton Development, CHAP and the
Trust agree that the Undertaking shall be implemented in accordance with the following stipulations in
order to take into account its effects on historic properties.
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                                                                  Stipulations

             The MD DHCD shall ensure that the following measures are earned out:

             PART ONE: TREATMENT OF THE HISTORIC BUILT ENVIRONMENT

             A.        REVIEW OF NEW CONSTRUCTION:

             Poppleton Development shall provide the Trust with an opportunity to review the design of all
             new construction projects within the redevelopment area by complying with the following
             stipulations:

                       I.          Poppleton Development or its architects shall submit site plans and elevations to
                                   the Trust for a thirty (30) day review and comment period.

                       2.          The review and comment period shall commence upon the date the Trust receives
                                   tbe site plans and elevations.

                       3.          Trust comments may include recommendations for how the designs should be
                                   revised to better relate to tbe surrounding bistoric buildings and districts -
                                   especially witb regard to how tbey relate to the National Historic Landmark
                                   Edgar Allan Poe House.

                       4.          Poppleton Development shall incorporate andlor comply with all Trust comments
                                   to the maximum extent practicable.

                       5.          Poppleton Development may assume that the Trust approves of the site plans and
                                   elevations if no comments are received within the review and comment period.

             B.        NATIONAL REGISTER OF HISTORIC PLACES NOMINATIONS:

             Poppleton Development shall hire a historian or an architectural historian who meets The.
             Secretary of the Interior's Professional Qualification Standards (36 CFR Part 61) and who has
             demonstrated experience in Maryland to complete National Register of Historic Places
             nominations (Nominations) in accordance with the following stipulations:

                       I.          Nominations shall be completed for tbe Sarah Ann Row Houses, the Metro
                                   Metals Building and the historic district that was included in a 1975 survey of the
                                   Poppleton Neighborhood (see Attachment A for additional information)

                      2.           Work on all Nominations shall begin no later than three (3) months from the date
                                   of the last signature on this Agreement.                 ..

                      3.           All Nominations shall be completed within two (2) years from the date that work
                                   begins.
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                   4.          All Nominations shall be completed in accordance with National Regiyter
                               Bulletin 16A and all other applicable National Register guidance and Trust
                               standards.                         "

                   5.          All Nominations shall be submitted to the Trust for review and comment.

                   6.          All Nominations shall be revised per any Trust comments until such time that
                               they are approved by the Trust.

                   7.          Once approved by the Trust, all Nominations shall be submitted to the Keeper of
                               the National Register of Historic Places for consideration and inclusion in the
                               National Register of Historic Places.

                   8.          Copies of each of the completed Nominations shall be submitted to the Trust and
                               the Baltimore Commission for Historical and Architectural Preservation for
                               accessioning"into their libraries.

         C.        LOCAL DISTRICT DESIGNATION:

         In order to provide additional protections and make the Sarah Ann Row Houses, the Metro Metals
         Building and the historic district identified in the 1975 survey of Poppleton eligible for historic
         preservation tax credits, CHAP shall begin actively pursuing local historic district designation of
         these three historic properties within three (3) months of the last signature on this Agreement.
         Local designation shall be carried out in accordance with established CHAP procedures. In the
         interest of finality with respect to the planning process, the Sarah Ann Row Houses and the Metro
         Metals Building are the only two properties within the Poppleton Housing Initiative Project Area
         boundaries that qualify as "historic properties" pursuant .to State andlor Federal Historic
         Preservation Law and, therefore, these two properties, along with the historic district identified in
         the 1975 survey of Poppleton as shown on Attachement A comprise the entire list of properties
         for which local historic district designation shall be pursued. The Edgar Allan Poe House has
         already been designated a local historic landmark.

         D.        REHABILITATION OF THE SARAH ANN ROWHOUSES:

         Poppleton Development shall preserve and" rehabilitate the Sarah Ann Row Houses in strict
         accordance with The Secretary of Ihe Interior's Siandardy for the Treatment of Hirloric
         Properties (36 CFR Part 68) by complying with the following stipUlations:

                   1.          Poppleton Development or its architects shall submit rehabilitation plans for the
                               Sarah Ann Row Houses to the Trust for a thirty (30) day review and approval
                               period.

                  2.           The review and approval period shall commence upon the date the Trust receives
                               the rehabilitation plans.

                  3.           Poppleton Development shall revise the rehabilitation plans in accordance with
                               all Trust comments until such time that the rehabilitation plans are approved by
                               the Trust.
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                   4.          Poppleton Development may assume Trust approval if the approval is .not
                               expressed in writing within forty-five (45) days.

                   S.          Alternately, should the Sarah Ann Row Houses rehabilitation project be eligible
                               for the Federal andlor State historic preservation tax credit programs, Poppleton
                               Development's full compliance with the requirements of those programs shall
                               constitute Trust approval of the rehabilitation plans for purposes of this
                               Agreement.

         E.        REHABILITATION OF THE METRO METALS BUILDING:

         Poppleton Development shall preserve and rehabilitate the fa9ades of the Metro Metals Building
         in accordance with The Secretary of the Interior:r Standards for the Treatment of HLrtoric
         Properties (36 CFR Part 68) by complying with the following stipUlations:

                   I.          Poppleton Development or its architects shall submit rehabilitation plans for the
                               fa9ades of the Metro Metals Building to the Trust for a thirty (30) day review and
                               comment period.

                   2.          The review and comment period shall commence upon the date the Trust receives
                               the rehabilitation plans.

                   3.          Poppleton Development shall incorporate andlor comply with all Trust comments
                               to the maximum extent feasible.

                   4.          Poppleton Development may assume that the Trust approves of the rehabilitation
                               plans ifno comments are received within the review and comment period.

                   5.          Alternately, should the Metro Metals Building rehabilitation project be eligible.
                               for the Federal andlor State historic preservation tax credit programs, Poppleton
                               Development's full compliance with the requirements of those programs shall
                               constitute Trust approval of the rehabilitation plans for purposes of this
                               Agreement.

         PART TWO: TREATMENT OF ARCHEOLOGICAL RESOURCES

         A.       EVALUAnON OF SITE ISBCISI:

         Prior to initiation of any redevelopment ground distutbing or construction activities within the block
         containing site 18BCISI (the block bordered by North Schroeder St., West Baltimore St. West Fairmount
         Ave., and North Amity) , Poppleton Development shall evaluate the National Register/Maryland Register
         eligibility of archeological site 18BCISI, in consultation with the Trust and in accordance with 36 CFR
         800.4(c). Poppleton Development shall ensure that all work adheres to the relevant performance
         standards in this Agreement and shall provide a copy of the resulting draft report to the Trust for a thirty
         (30) day review and comment period.

         B.      TREATMENT OF SITE 18BCI51:

        If the Evaluation efforts outlined above identify any National RegisterlMaryland Register eligible
        archeological resources, Poppleton Development shall develop a plan for their avoidance, proteetion,
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         recovery, or destruction without recovery, and public education/interpretation in consultation with the
         Trust Poppl~ton Development shall submit the treatment plan to the Trust for a thirty (30) day review .
         period. Unless the Trust objects within 30 days after receipt of the plan, Poppleton Development shall
         implement the plan prior to the start of project ground disturbing activities within or immediately adjacent
         to the site area. Should data recovery investigations be warranted, Poppleton Development shall ensure
         that a data recovery plan is developed in consultation with the Trust, consistent with the performance
         standards outlined in this Agreement. The plan shall specify, at a minimum:
                                                                              !
                   I.          The property, properties, or portions of propeires where data recovery is to be carried
                               out, and any property that will be destroyed witliput data recovery;

                   2.          Research questions to be addressed through data recovery, with an explanation of their
                               relevance and importance;

                   3.          The research methods to be used, with an explanation of their relevance to the research
                               questions;

                   4.          The methods to be used in analysis, data management, and data dissemination, including
                               a schedule;

                   5.          Proposed disposition of recovered materials and records;

                   6.          Proposed methods for involving the interested public in the data recovery, and for
                               disseminating the results of the work to the interested public; and

                   7.          A proposed schedule for the submission of progress reports to the Trust.

         Poppleton Development and the Trust will meet on-site to evaluate the success of the fieldwork phase of
         any data recovery program, near the end of the fieldwork efforts. Poppleton Development shall submit       a
         management summary to the Trust documenting the completion of fieldwork for a fifteen (15) day
         review. Upon receipt of the written concurrence from the Trust, Poppleton Development may proceed
         with construction activities in the site areas concurrently with completion of the remaining laboratory,
         analyses, and reporting phases of the data recovery work.

         C.       PROFESSIONAL QUALIFICATIONS:

         Poppleton Development shall ensure that all archeological work carried out pursuant to this Agreement is
         carried out by or under the direct supervision of a person or persons meeting, at a minimum, the Secretary
         ofthe Interior's Profo.lSional Qualification Standard, (36 CFR Part 61, Appendix A).

         D.       STANDARDS AND GUIDELINES:

         Poppleton Development shall ensure that all cultural resources investigations and work performed
         pursuant to this Agreement shall be conducted consistent with the principles and standards contained in
         the documents (and subsequent revisions thereof) listed below:

                   I.      Standard,' and Guidelinesfor Archeological Investigations in Maryland (Shaffer and Cole
                            1994); and
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                        2.          Recommended Approach for Comullalion on Recovery of Significant Information from
                                    Archeological Sites, ACHP 1999 (64 FR 27085-27087).


              F.        CURATlON:

              All materials and records resulting from cultural resources investigations conducted pursuant to this
              Agreement shall be curated in accordance with 36 CFR 79 at the Maryland Archeological Conservation
              Laboratory, unless clear title or Deed of Gift to the collection can not be obtained.

              PART THREE: ADMINISTRATIVE CLAUSES

              A.        AMENDMENTS:

                        I.          Any party to this Agreement may request that it be amended, whereupon all parties will
                                    consult to consider such amendment

                        2.          No amendment to this Agreement shall be valid unless all parties have agreed in writing.

              B.        DISPUTE RESOLUTION:

                        i.          Should any party to this Agreement object in writing to any action carried out or
                                    proposed in connection with the implementation of this Agreemen~ the signatories shall
                                    consult with the objecting party to resolve the objection. If, after initiating such
                                    consultation. the Trust determines that the objection cannot be resolved through
                                    consultation. the Director of the Trust shall identify what additional actions, if any. are
                                    necessary to maintain or achieve compliance with the Act.

                        2.          MD DHCD shall ensure that any actions identified by the Director of the Trust are
                                    carried out with reference only to the subject of the objection; the responsibility of MD
                                    DHCD to carry out all actions under this Agreement that are· not the subjects of the
                                    objection shall remain unchanged.

              C.        TERMINATION:

                        I.          Any party to this Agreement may terminate it. for cause by providing thirty days notice to
                                    the other parties, provided that the parties will consult during the period prior to
                                    termination to seek agreement on amendments or other actions that would avoid
                                    termination.

                       2.           In the event of termination, the Director of the Trust shan identify what additional
                                    actions. if any. are necessary to maintain or achieve compliance with the Act.

                       3.           MD DHCD shall ensure that any actions identified by the Director of the Trust are
                                    carried out

              D.       APPLICABILITY OF THIS AGREEMENT FOR POSSIBLE FUTURE FEDERAL OR
                       STATE INVOVLEMENT:
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         This Agreement may be used to constitute compliance with all applicable Federal and State historic
         preservation legislation for any possible future Federal or State involvement (e.g. funding, licensing,
         permitting etc.) necessary to fulfill the goals of Poppleton Development's current Poppleton
         redevelopment plan provided that the following measures are carried out:

                   I.          Poppleton Development or the potentially involved Federal or State agency shall forward
                               a written description of the proposed involvement and supporting documentation that
                               fully explains what actions will result from said involvement.

                   2.          Within thirty (30) days of the receipt of the description and supporting documentation,
                               the Trust shall provide a written response that I.) requests additional information; or 2.)
                               indicates that continued implementation of the review, comment and approval terms of
                               this Agreement shall constitute a "conditional no adverse effect" on historic properties.

                   3.          The involved parties shall consult according to applicable regulations if the Trust
                               determines that this Agreement is insufficient to constitute compliance with applicable
                               Federal or State historic preservation legislation for the proposed Federal or State
                               involvement.

         E.        DURATION:

         This Agreement shaH remain in effect for ten (10) years from the date of the last signature on this
         Agreement

                                            SIGNATURES FOLLOW ON NEXT PAGE
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         PART FOUR: SIGNATURES




         BY:       ::-::-_-:-o-~_ _ _ _ _ _ _ _ _ _               DATE:
                   Victor Hoskins
                   Secretary, Maryland Department of Housing and Community Development




         BY:       ~Pr~==:=------_-_DATE:
                   Paul T. Graziano
                   Commissioner, Baltimore Department of Housing and Community Development



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         BY:    ~~,,_~~'/~~~~~~'~~~~K~/'~~~~C'
                        ..

                  Dan Bythewood
                                                      ________                     DATE:

                   Managing Me           er, Poppleton Development I, LLC




         BY:                               .. _<X-;'_.2_;!:{,_,,,_h_"'_'
                  :-;:-"·-;,';-;-,/._.',L_-6;:-                       -1_/,_'-_._ _ _ _ DATE:
                  Kathleen Kotarba.
                  Executive Director, Baltimore Commission for Historical and Architectural Preservation




         BY:      ~~_~~             _______________ DATE:
                  J, Rodney Little
                  Director/State Historic
                  Preservation Officer


         APPROVED AS TO FORM AND LEGAL SUFFICIENCY



                                                                                   DATE:
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                                                     ATIACHMENT A
                                           THE HISTORIC DlS1RICT ADJACENT TO
                                    THE POPPLETON HOUSING INITIATIVE PROJECT AREA
                                    AS DEFINED IN THE 1975 POPPLETON HIS10RIC SURVEY
                                                  BALTIMORE, MARYLAND

                The Maryland Historical Trust has determined that only the southern portion of the 1975 Poppleton Historic
                Study Area is eligible for listing in the National Register of Historic Places and is, therefore, listed in the
                Maryland Register of Historic Properties. The historic district has not yet been named in order to avoid any
                confusion with the current redevelopment efforts being undertaken in the northern portion of the Poppleton
                Historic Survey Area (which was determined ineligible for listing in the National RegisterlMaryland
                Register). Although the Poppleton Housing Initiative will not directly affect the historic district, it will
                introduce new visual and audible elements and it has the potential to spark new development that may extend
                within the boundaries of the historic district. Those boundaries are generally defined as follows:

                Northern Boundary - West Baltimore Street
                Southern Boundary - West Pratt Street
                Western Boundary - the boundaries of the Union Square and Franklin Square National Register Historic
                                    Districts.
                Eastern Boundary - Martin Luther King Jr. Boulevard and the boundaries of the Barre Circle National
                                    Register Historic District.

                The National Register of Historic Places Nomination that will be prepared for the historic district should also
                include the few properties within the 900 Block of Lemmon Street that compose the small, local Railroad
                Historic District.
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                                                                              ScheduleF

                                                             Poppleton Development I, LLC

                                                                  Poppleton Neighborhood


                                              PHASING PLAN




    Schedule E Poppleton Housing Initiative
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